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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


GORDON SCHIFF and CELESTE ROYCE,

                        Plaintiffs,
        v.

U.S. OFFICE OF PERSONNEL
MANAGEMENT; CHARLES EZELL, in his
official capacity as Acting Director of the U.S.
Office of Personnel Management; U.S.
DEPARTMENT OF HEALTH & HUMAN                               Case No. 25-cv-10595-LTS
SERVICES; ROBERT F. KENNEDY, JR., in
his official capacity as Secretary of Health and
Human Services; AGENCY FOR
HEALTHCARE RESEARCH AND
QUALITY; and MAMATHA PANCHOLI, in
her official capacity as Acting Director of the
Agency for Healthcare Research and Quality,

                        Defendants.


                           DECLARATION OF CELESTE ROYCE

       I, Celeste Royce, declare under penalty of perjury that the following is true and correct:

       1.      I am a Plaintiff in this action. I offer this declaration in support of Plaintiffs’ Motion

for a Preliminary Injunction. I have personal knowledge of the facts set forth in this declaration

and could testify competently to those facts if called as a witness.

       2.      I live in Boston, Massachusetts.

Background

       3.      I am an Assistant Professor of Obstetrics, Gynecology and Reproductive Biology

at Harvard Medical School (“HMS”). At HMS, I am the Vice Chair of the Clerkship Education

Committee for the Department of Obstetrics, Gynecology, and Reproductive Biology; Course

Director for several courses; and serve on several committees.
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       4.      I am board-certified with the American Board of Obstetricians and Gynecologists.

       5.      I have practiced medicine as an obstetrician-gynecologist physician since 1993 and

continue to see patients at Beth Israel Deaconess Medical Center (“Beth Israel”), where I work in

the Department of Obstetrics and Gynecology.

       6.      At Beth Israel, I am the Director of Simulation and Director for Undergraduate

Medical Education, and I serve on the Quality Assurance and Clinical Competency Committees

for the Department of Obstetrics and Gynecology.

       7.      At Beth Israel, I am the Co-Director of the Rabkin Fellowship in Medical Education.

       8.      I have a Doctor of Medicine degree from the University of California, Los Angeles,

and a Bachelor of Arts degree from the University of California, Santa Barbara.

       9.      I am licensed to practice medicine in the State of Massachusetts.

Career and Research

       10.     I have been working in OBGYN, medical education, and patient safety, as a

practitioner, teacher, researcher, institutional leader, and patient and policy advocate for more than

three decades. My main areas of interest and contribution have been in quality improvement in

women’s health, reducing diagnostic and treatment errors, and improving medical education and

clinical reasoning.

       11.     Through my training and practice, I am deeply familiar with the prevailing medical

standards and protocols for patient safety and diagnostic safety. I am a member of the Primary-

Care Research in Diagnosis Errors (“PRIDE”) Learning Network created by the Betsy Lehman

Center for Patient Safety and the Commonwealth of Massachusetts. At Beth Israel, I serve on the

Quality Assurance and Clinical Competency committees for the Department of Obstetrics and




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Gynecology. I am also a Fellow of the American College of Obstetricians and Gynecologists and

of several other societies.

        12.     Throughout my career, I have focused on improving my ability to make diagnoses

for my patients, as well as educating the broader community of healthcare providers to prevent

diagnostic errors and improve patient and medication safety.

        13.     I have authored sixteen peer-reviewed publications in print and other media, fifteen

other peer-reviewed publications, and dozens of reports, workshops, presentations, and guidelines.

I also serve as a peer reviewer for several medical journals.

        14.     I have developed several complete curricula focused on developing medical and

clinical thinking, including five curricula published in the Association of American Medical

Colleges’ MedEdPORTAL, a peer-reviewed online journal of teaching and learning resources for

medical educators. Additional curricula that I developed have been adapted into the BRIDGES

clinical-medicine course at Harvard Medical School and featured at the American Medical

Association’s national conference.

        15.     I have delivered several presentations to professional organizations focused on

patient safety, including the Betsy Lehman Center for Patient Safety and the Beth Israel Silverman

Institute for Health Care Quality and Safety.

        16.     Through these projects and others, I have helped doctors and medical students

develop clinical reasoning and combat cognitive biases that lead to diagnostic error.

        17.     A true and correct copy of my CV is attached as Exhibit 1.

Publications on WebM&M and PSNet

        18.     I have authored two commentaries featured on Patient Safety Network (“PSNet”).




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       19.     In 2023, I was the lead co-author on a commentary featured on PSNet: “The Time

is Now: Addressing Implicit Bias in Obstetrics and Gynecology Education,” which was originally

published in the American Journal of Obstetrics and Gynecology.

Drafting and Publication of Endometriosis Commentary

       20.     In January 2020, I co-led a conference, hosted by the PRIDE Learning Network, on

a case of delayed endometriosis diagnosis.

       21.     Endometriosis is a condition wherein cells similar to the lining of the uterus grow

outside the uterus. Endometriosis can cause pain and lead to excessive bleeding and even infertility.

       22.     The 2020 conference brought together health care providers to discuss lessons

learned from a practitioner’s misdiagnosis of a case of endometriosis. In that case, a 15-year-old

female with no prior medical problems developed menstrual cramps and heavy bleeding at the

onset of her first menstrual period. Throughout the next nine years, the patient’s symptoms

worsened to include severe abdominal cramps, bloating, nausea, and diarrhea. During this period,

her primary care provider, two gynecologists, and a gastroenterology specialist all provided her

with inaccurate diagnoses. Providers repeatedly dismissed her symptoms as psychological or

implied that their severity was due to a mental health condition. Only twelve years after her initial

symptoms, following an emergency appendicitis and biopsy, did a third gynecologist accurately

identify her condition as endometriosis.

       23.     Following the conference, Dr. Malcolm Mackenzie and I worked to draft a

commentary on the endometriosis case study throughout the spring of 2020. We sought to examine

the missed opportunities for timely diagnosis in that particular case and highlight general

challenges and sources of delay common in endometriosis cases. Dr. Gordon Schiff provided

editorial support for this commentary.


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       24.    Dr. Schiff submitted a draft of Endometriosis Commentary to PSNet on May 3,

2020. As submitted, our commentary acknowledged several diagnostic challenges common in

endometriosis cases, including a “lack of understanding” surrounding the fact that “endometriosis

can occur in trans and non-gender-conforming people.” As a result, Dr. Mackenzie and I suggested

that “endometriosis should be considered in the differential diagnosis for any person presenting

with chronic abdominal or pelvic pain.”

       25.    On May 7, 2020, I received an email from Dr. Deb Bakerjian, who encouraged us

to reduce focus on the details of endometriosis and instead increase emphasis on how and why the

diagnostic process went awry at various points. None of Dr. Bakerjian’s comments in that email

mentioned the sentence regarding “trans and non-gender-conforming people.”

       26.    On May 7, 2020, I also received an email in which Dr. Patrick Romano responded

with recommendations for disentangling the interplay of diagnostic and other medical issues.

None of Dr. Romano’s comments in that email mentioned the sentence regarding “trans and non-

gender-conforming people.” A true and correct copy of the email is attached as Exhibit 2.

       27.    On May 4, 2020, Dr. Bakerjian added in-text comments to the working draft of

Endometriosis Commentary in Microsoft Word. The following day, Dr. Romano added in-text

comments to the draft. Neither Dr. Romano nor Dr. Bakerjian offered any comments or in-text

edits related to the sentence “not[ing] that endometriosis can occur in trans and non-gender

conforming people.”

       28.    In response to these emails and in-text comments from Dr. Bakerjian and Dr.

Romano, my co-author and I revised the draft to align more closely with the patient safety focus

of PSNet.

       29.    On May 7, 2020, my co-author and I finalized the draft for publication.


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       30.     At no time in the editorial process did any member of the Editorial Team—or

AHRQ staff or anyone else—suggest that language noting that “endometriosis can occur in trans

and non-gender-conforming people” was inaccurate, outside the bounds of PSNet’s focus on

patient safety, or otherwise outside the bounds of their selection or publication criteria.

       31.     On June 24, 2020, PSNet published Endometriosis Commentary, including the

statement that “endometriosis can occur in trans and non-gender-conforming people and lack of

understanding this fact could make diagnosis in these populations even more challenging.” At the

bottom of the publication, a disclaimer stated, “The authors are solely responsible for this report’s

contents, findings, and conclusions, which do not necessarily represent the views of AHRQ.

Readers should not interpret any statement in this report as an official position of AHRQ or of the

U.S. Department of Health and Human Services.” A true and correct copy of the final

Endometriosis Commentary is included as Exhibit 3.

       32.     When Endometriosis Commentary was published, I updated my CV to include it in

my list of publications. See Exhibit 1.

       33.     Endometriosis Commentary was cited, paraphrased, and discussed at length in

publications outside PSNet by other authors seeking to highlight diagnostic challenges in

endometriosis cases, such as in a book chapter on diagnostic difficulties and the Journal of the

Association of Perioperative Registered Nurses. True and correct copies of these publications are

included as Exhibits 4 and 5.

       34.     My understanding is that Endometriosis Commentary remained online and

available until at least January 20, 2025.




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Removal of Endometriosis Commentary

       35.     On February 3, 2025, Dr. Romano emailed me, my co-author, and Dr. Schiff to

inform us that Endometriosis Commentary and other “factual and unbiased content” had “been

removed from the PSNet website due to a perception that it violates the White House policy on

websites ‘that inculcate or promote gender ideology.’” A true and correct copy of that email is

attached as Exhibit 6.

       36.     On February 6, Dr. Romano emailed me, my co-author, Dr. Schiff, and other

“Harvard-affiliated PSNet colleagues” to explain that the language triggering the removal of

Endometriosis Commentary from PSNet was the sentence including the phrase “it is important to

note that endometriosis can occur in trans-and non-gender conforming people and lack of

understanding this fact could make diagnosis in these populations even more challenging.” In that

same email, Dr. Romano informed us that “AHRQ has received approval to re-post your original

commentaries, which we have been discussing over the last several days,” but only on the “non-

negotiable” condition of “the removal of the problematic words – i.e., the words ‘transgender’ and

‘LGBTQ.’” Dr. Romano also wrote that, for Endometriosis Commentary, “this entails editing out

just the very last sentence (‘Although not germane to this particular case, it is important to note

that endometriosis can occur in trans . . ’ [sic].” Dr. Romano indicated that, if my co-author and I

agreed to these changes, we could also include an editor’s note indicating that the article was

updated to comply with the Executive Order, “Defending Women from Gender Ideology

Extremism and Restoring Biological Truth to the Federal Government.” A true and correct copy

of that email is attached as Exhibit 7.

       37.     On February 7, I replied to Dr. Romano by email to convey that I would approve

reposting Endometriosis Commentary with the editor’s note and with the last sentence revised to


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provide, “ . . . it is important to note endometriosis can occur in any woman and is a rare but

possible diagnosis in men.” I wrote that I would not approve of deleting the sentence, “since the

whole point of the piece is endo is frequently missed or delayed in diagnosis, and this sentence is

encouraging readers to have an open mind.” A true and correct copy of that email is attached as

Exhibit 8.

       38.     Dr. Romano responded by email later that day rejecting my alternate language and

reiterating that “the condition for restoration is non-negotiable.” Dr. Romano further stated, “It is

the Administration’s view that the terms men, man, male, etc., must only be used for persons who

are biologically male (which they define as ‘the sex that produces the small reproductive cell.’).”

He stated that “in the Administration’s view, endometriosis is not a possible diagnosis in men”

and included a link to the Executive Order. A true and correct copy of that email is attached as

Exhibit 9.

       39.     On February 10, Dr. Romano emailed me and my co-author to report that my

proposal had been accepted. The revised sentence would read: “Although not germane to this

particular case, it is important to note that endometriosis can occur in any woman and is a rare but

possible diagnosis in men.” A true and correct copy of that email is attached as Exhibit 10.

       40.     On February 12, Dr. Romano emailed again to retract that proposed course of action,

stating that the revised sentence was not permissible. He clarified that the only way to repost

Endometriosis Commentary would be “to completely remove the final sentence (which was

deemed non-compliant with the President’s Executive Order).” Dr. Romano clarified what he and

the other PSNet editors had been told: “To quote, ‘we must not use any reference to transgender

no matter how hidden we make it. We need to respect this decision . . .’.” In the same email, Dr.




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Romano also informed us that none of the other teams who were offered an option to republish a

censored article chose to do so. A true and correct copy of that email is attached as Exhibit 11.

       41.     As of March 31, 2025, Endometriosis Commentary remains unavailable on PSNet.

Consequences of the Government’s Removal of Endometriosis Commentary

       42.     PSNet is a major publication in the patient-safety academic field because it has a

wide readership and is known for publishing high-quality articles that practitioners and patients

can rely on. It is widely considered the premier patient-safety website in the United States and

internationally. For AHRQ and HHS to remove Endometriosis Commentary reduces my standing

in the academic community because I have been deprived of a placement in the premier patient-

safety publication and the opportunity to be credited for the commentary through a citation in

future research. I will also need to revise my CV to remove this commentary from my publications.

       43.     At Harvard Medical School, I am in the process of seeking promotion from

Assistant Professor to Associate Professor. Promotion to Associate Professor would mean an

increased salary and eligibility to join national committees and editorial boards.

       44.     Because this promotion is currently pending, the removal of my work from PSNet

threatens to decrease the likelihood of the promotion’s approval. The removal of my work from

PSNet therefore threatens to damage my earning power, academic rank, and participation in

scholarly organizations.

       45.     In the future, I expect to submit commentaries for WebM&M Case Studies for

publication on PSNet. However, given the Trump Administration’s ongoing censorship of terms

that “promote or inculcate” what it deems to be “gender ideology,” my ability to offer a full

commentary and views on medical cases will be restricted. Moreover, none of the Defendants have

produced a full list of terms that will trigger their removal of PSNet articles. To avoid the


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censorship and removal of my future commentaries, I will need to steer clear of expressing my

views related to gender and its connection to patient safety—regardless of how much evidence and

expertise might inform those views.

        46.     The success of the study of patient safety hinges on preserving the free exchange

of ideas, scientific integrity, and evidence-based inquiry. These same objectives are central to

PSNet and the WebM&M Case Studies series.

        47.     In my four decades as a practitioner, teacher, researcher, institutional leader, and

advocate, I have never before now encountered an effort by the government to stifle the exchange

of ideas in the field of patient safety.



I declare under penalty of perjury that the foregoing is true and correct.

Executed on March 31, 2025, in Boston, Massachusetts.




                                                   Plaintiff Celeste Royce




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                                                  Curriculum Vitae
Date Prepared:        February 6, 2025

Name:                 Celeste S. Royce, MD

Office Address:

Home Address:

Work Phone:

Work Email:

Place of Birth:       St. Louis, MO


Education
 06/1985                BA with          Biochemistry, Molecular Biology, and     University of California, Santa
                        Honors           Zoology                                  Barbara
 05/1989                MD               Medicine                                 University of California, Los Angeles
                                                                                  (UCLA)
 01/2013                                 Clerkship Director’s School              Association of Professors of
                                                                                  Gynecology and Obstetrics (APGO)
 01/2013-03/2014                         Academic Scholars and Leaders            APGO
                                         Program
                                         (Advisor: Nadine Katz, MD)
 09/2016-06/2017                         Medical Education Fellowship             The Academy at Harvard Medical
                                                                                  School (HMS)

Postdoctoral Training
 06/1989-06/1990      Internship         Obstetrics and Gynecology (OBGYN)        Harbor/UCLA Medical Center
                                                                                  Torrance, CA
 07/1990-07/1993        Residency        OBGYN                                    Harbor/UCLA Medical Center
                                                                                  Torrance, CA

Faculty Academic Appointments
 1997-1998           Instructor                        OBGYN                     Penn State Geisinger Medical
                                                                                 Center, Danville, PA
 2010-2019              Instructor                     OBGYN                     HMS
                                                                                 Boston, MA
 2019-                  Assistant Professor            OBGYN                     HMS
                                                                                 Boston, MA

Appointments at Hospitals/Affiliated Institutions
 1993-1997     Staff Physician        Department of OBGYN                        Alta Bates Medical Center
                                                                                 Berkeley, CA
 1997-1998        Staff Physician        Department of OBGYN                     Penn State Geisinger Medical
                                                                                 Center, Danville, PA
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 1999-2005      Staff Physician       Department of OBGYN                      Santa Barbara Cottage Hospital
                                                                               Santa Barbara, CA
 1999-2005      Staff Physician       Department of OBGYN                      Sansum Santa Barbara Medical
                                                                               Clinic Foundation, Santa Barbara, CA
 2005-2010      Staff Physician       Department of OBGYN                      Anna Jaques Hospital
                                                                               Newburyport, MA
 2010-2021      Staff Physician       OBGYN Service                            Bowdoin Street Health Center
                                                                               Dorchester, MA
 2010-          Staff Physician       Department of OBGYN                      Beth Israel Deaconess Medical
                                                                               Center, Boston, MA (BIDMC)


Faculty Membership in Harvard Initiatives, Programs, Centers, and Institutes
 2012-        Member                      BIDMC Academy of Medical Education              BIDMC
 2013-        Member                      The Academy                                     HMS
 2017         Shapiro Institute Scholar   Shapiro Institute for Education and Research    BIDMC
 2018-        Member                      Harvard Initiative for Learning and Teaching    Harvard University
 2021-        Member                      Supportive Birth Collaborative                  BIDMC
 2022-        Faculty Member              Shapiro Institute for Education and Research    BIDMC


Major Administrative Leadership Positions
Local
 2007-2010      Associate Medical Director, Women’s Health Care                Anna Jaques Hospital
 2010           Chief, OBGYN                                                   Anna Jaques Hospital
 2010-2021      Director, OBGYN Services                                       Bowdoin Street Health Center
 2011-2013      Associate Clerkship Site Director                              BIDMC, Department of OBGYN
 2011-          Clerkship Committee                                            HMS, Department of OBGYN
                2018-                                                          Vice Chair
 2012-2013      Associate Residency Program Director                           BIDMC, Department of OBGYN
 2013-2015      Director, Resident Ambulatory Practice                         BIDMC, Department of OBGYN
 2014-2019      Course Director, Preparation for Residency, “OBGYN Boot        HMS, Department of OBGYN
                Camp”
 2015-          Clerkship Site Director                                        HMS, Department of OBGYN
 2016-2023      Course Site Director, Transition to the Principle Clinical     HMS
                Experience
 2017           HMS Medical Education Day, Co-Chair                            HMS
 2018-2023      Lead Faculty, Specialty Advisor Program Development            HMS
 2019-2023      Course Director, Transition to the Principal Clinical          HMS
                Experience
 2020           Lead Faculty, Advanced Clinical Content and Skills             HMS
 2021-          Clinical Capstone Pre-internship Specialty Track Director      HMS, Department of OBGYN
 2021           Interim Associate Director and Advisor, Cannon Society         HMS

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 2021-         Director for Undergraduate Medical Education                BIDMC, Department of OBGYN
 2022-         Co-Director, Rabkin Medical Education Fellowship            BIDMC, Shapiro Institute for
                                                                           Research and Education
 2022-         Course Director, Obstetrics Night Float Acting Internship   BIDMC, Department of OBGYN
               Advanced Clinical Elective
 2023          Interim Associate Director and Advisor, Peabody Society     HMS
 2024-         Course Director, BRIDGES 1 and 2                            HMS
 2024-         Director of Simulation                                      BIDMC, Department of OBGYN

National
 2018-2024     Conference Co-Organizer, Clerkship Director School          APGO
                                                                           Annual Faculty Development
                                                                           Seminar
Committee Service
Local
 2010          Medical Executive Committee                                 Anna Jaques Hospital
 2010          Surgical Committee                                          Anna Jaques Hospital
 2010          Medical Records Committee                                   Anna Jaques Hospital
 2010-         Gynecology Leadership Committee                             BIDMC, Department of OBGYN
               2012-2018, 2024-                                            Committee Chair
 2010-         Mentorship Committee                                        BIDMC, Department of OBGYN
 2010-         Residency Selection Committee                               BIDMC, Department of OBGYN
 2010-         Quality Assurance Committee                                 BIDMC, Department of OBGYN
 2014-         Career and Residency Advisor Network                        HMS
 2014-         Clerkship Committee                                         HMS, Department of OBGYN
               2017-                                                       Vice Chair
 2014-         Clinical Competency Committee                               BIDMC, OBGYN Residency Program
 2015-         Joint Commission on the Status of Women                     HMS
 2015-2016     Faculty Hour Committee                                      BIDMC
 2015-2019     Compassion, Caring and Empathy Committee                    The Academy at HMS
 2015-2020     Critical Thinking Interest Group                            The Academy at HMS
                                                                           Co-chair
 2016-2022     Strategic Planning Committee                                BIDMC, Department of OBGYN
 2018-         Peer Support Program                                        Betsy Lehman Center
               Nominated member                                            BIDMC
 2019-         Educational Policy & Curriculum Committee                   HMS
                                                                           Member, Pre-clerkship Sub-
                                                                           Committee




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 2019-           Trauma-informed Care Curricular Theme Committee              HMS
                                                                              Founding member
                                                                              Member, Curriculum Assessment
                                                                              Sub-committee
 2019-           Admissions Committee                                         HMS
                                                                              Member, Sub-committee 3
 2020-2021       Faculty Hour Committee                                       BIDMC
 2020-           Committee on Diversity, Equity, and Inclusion                BIDMC, Department of OBGYN
 2021-2022       Well-being Steering Committee                                HMS
 2021            Working Group on Thresholds for Student Phase                HMS
                 Progression
 2022-           Honors and Awards Committee                                  BIDMC, Department of OBGYN
                                                                              Founding Member
 2022            Visual Arts advisory Committee                               Brigham and Women’s
                                                                              Hospital/HMS
                                                                              Founding Member
 2023-2026       Faculty Council                                              HMS

Regional
 2018-           Primary-Care Research in Diagnosis Errors (PRIDE) Learning   Betsy Lehman Center for Patient
                 Network                                                      Safety
                                                                              Commonwealth of Massachusetts
National
 2018-           Undergraduate Medical Education Committee                    APGO
 2018-           Clerkship Director School                                    APGO
                                                                              Co-Course Director
 2018-2021       Transition to Residency Director School                      APGO
                                                                              Co-Course Director
 2018-           Communications Sub-Committee                                 APGO
                 2022-                                                        Chair
 2021            Accelerating Change in Medical Education                     American Medical Association,
                 Thematic discussion series                                   HMS faculty representative
 2021-2023       Right Resident, Right Program, Ready Day One Curriculum      APGO
                 and Assessment Committee
 2023-           Assessment Development Subcommittee                          American Board of OBGYN
 2024-           Program Committee                                            Society of Academic Specialists in
                                                                              General OBGYN
Professional Societies
 1990-           American College of Obstetricians and Gynecologists          Member
                 1990-1995                                                    Junior Fellow
                 1995-                                                        Fellow
 2005-           Massachusetts Medical Society                                Member


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 2011-           Association of Professors of Gynecology and Obstetrics          Member
                 2012-2018                                                       Member, Abstract Selection
                                                                                 Committee
                 2018-2024                                                       Undergraduate Medical Education
                                                                                 Committee (UMEC)
                 2025-                                                           Member, Annual Meeting
                                                                                 Member, Advisory Committee for
                                                                                 Academic Scholars and Leaders
 2013-           Society of Academic Specialists in General OBGYN                Member
 2019            American Public Health Association                              Abstract Selection Committee
 2015, 2019-     Association of American Medical Colleges                        Abstract Selection Committee
 2020-           Boston Obstetrical Society                                      Member

Editorial Activities
Ad hoc Reviewer
 Academic Medicine
 American Journal of Psychotherapy
 BMC Medical Education
 Diagnosis
 International Journal of Gynecology and Obstetrics
 Journal of Graduate Medical Education
 Maternal and Child Health Journal
 MedEdPORTAL
 Obstetrics and Gynecology

Other Editorial Roles
 2018-2022        Co-editor              The Medical Educator
 2021             Associate Editor       APGO Online
                                         Medical Student Educational Objectives (MSEO), 11th Edition
 2021             Editorial Board        APGO Online
                  Member                 MSEO Teaching Cases 11th Edition
 2021             Editorial Board        APGO Online
                  Member                 Effective Preceptor Series
 2022             Editorial Board        APGO Online
                  Member                 Effective Career Development Series
 2022-2024        Editor                 The Medical Educator
 2023             Editorial Board        APGO Online
                  Member                 Basic Skills Curriculum
 2023             Editorial Board        APGO Online
                  Member                 Inclusive Learning Environment Series

Honors and Prizes
 2011       Faculty Prize, Excellence in Teaching Medical           APGO                    Teaching
            Students


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2013    Nominee, Charles McCabe Faculty Prize for            HMS                      Teaching
        Excellence in Teaching (Years III & IV)
2014    Nominee, Charles McCabe Faculty Prize for            HMS                      Teaching
        Excellence in Teaching (Years III & IV)
2015    Charles McCabe Faculty Prize for Excellence in       HMS                      Teaching
        Teaching (Years III & IV)
2015    Innovation Prize for Undergraduate Medical           HMS Medical              Medical Education
        Education                                            Education Day            Research
        Poster: “Impact of the Resident-As-Teacher Video
        Series in Preparing Students to be Resident
        Teachers”
2015    First Prize                                          CREOG/APGO Annual        Medical Education
        Poster: “Constructing the Pelvis: Assessment of a    Meeting                  Research
        Novel Teaching Approach to Anatomy”
2016    Innovation Prize for Undergraduate Medical           HMS Medical              Medical Education
        Education                                            Education Day            Research
        Poster: “Faculty Perspectives of Using a
        Standardized Oral Exam to Assess Ob/Gyn Clerkship
        Students”
2018    First Prize                                          CREOG/APGO Annual        Medical Education
        Poster: “Experiences in DOCS Clinic: Direct          Meeting                  Research
        Observation of Clinical Skills in the OBGYN
        Clerkship”
2019    Nominee, Award for Culture of Excellence in          HMS                      Mentoring
        Mentoring Gynecology and Obstetrics Advising
        Team
2020    Nominee, Award for Culture of Excellence in          HMS                      Mentoring
        Mentoring Gynecology and Obstetrics Advising
        Team
2021    Society for Academic Specialists in General OBGYN    Society for Academic     Teaching
        Faculty Award                                        Specialists in General
                                                             OBGYN
2022    Nominee, A. Clifford Barger Excellence in            HMS                      Mentoring
        Mentoring Award
2023    Best Classroom Education Research                    Shapiro Institute        Medical Education
        Poster, “Responding to Trauma Disclosures: A         Center for Education     Research
        Clinical Skills Curriculum”                          and Research
2023    Best Educational Simulation                          Shapiro Institute        Medical Education
        Poster, “Simulated Delivery, Real Awareness: A       Center for Education     Research
        Novel, Interprofessional Labor and Delivery          and Research
        Simulation for Pre-Clinical Medical Students”
2024    Best Medical Student Education                       Shapiro Institute        Medical Education
        Poster, “Transition to the Principal Clinical        Center for Education     Research
        Experience: a multipronged curricular approach to    and Research
        knowledge consolidation and skill development in
        preparation for medical school clerkships”
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Report of Funded and Unfunded Projects

Past Funded Projects
 2016-2018     Simulation as a Tool for Assessment
               Harvard Institute for Learning and Teaching
               Co-Investigator (PI: Morgan Soffler)
               The project investigates the utility of simulation as a tool for assessment in undergraduate
               medical education. My role was to serve as Faculty Reviewer for simulation assessments of
               students and to perform qualitative analysis of focus group data.
 2018-2021     Reducing Diagnostic Error: A Case-based, Critical Thinking Curriculum
               Controlled Risk Insurance Company/Risk Management Foundation
               Principal Investigator (Total direct costs: $266,000)
               This project is a multi-disciplinary, multi-institution effort to build a curriculum for learners
               across the medical education continuum on avoiding diagnostic error through improving critical
               thinking, awareness of cognitive bias, and development of metacognitive strategies to improve
               patient safety and clinical outcomes.
 2019-2021     Using Qualitative Research Methods to Optimize the Clerkship Learning Environment: A Faculty-
               Student Quality Improvement Study
               Dean’s Innovation Award
               Co-Investigator (PI: K. Meredith Atkins)
               This project is intended to study utilization of student input for improvement of the clinical
               learning environment using qualitative methodology, including systematic analysis of oral and
               written narratives to design targeted interventions for improvement of the learning
               environment.
 2019-2021     Mapping Entrustable Professional Activities in OBGYN from Undergraduate to Graduate Medical
               Education
               Promising Young Investigator Grant, Department of OBGYN, BIDMC (2nd competitive renewal)
               Principal Investigator (Total direct costs: $120,939)
               Multi-institutional project to define expected entrustable professional activities in OBGYN for
               undergraduate medical education and map these to graduate-level OBGYN Milestones.
 2019-2020     Residency Training in Trauma Informed Care: A National Assessment
               Expanding the Boundaries Grant, Brigham & Women’s Hospital
               Co-Investigator (PI: Deborah A. Bartz)
               The goals of this national survey of all U.S. and Canadian residency training programs in Ob/Gyn
               is to assess current learning opportunities in trauma informed care (TIC), and investigate
               barriers to inclusion of TIC curricula.
 2022-2023     Faculty Career Specialty Advisor Curriculum and Faculty Development
               Dean’s Discretionary Fund, HMS
               Grant Type: Educational
               Principal Investigator (Total Direct Costs: $15,000)
               This project has two major goals: identify and develop best practices in career advising for all
               specialties at HMS and study the utility of a standardized letter of recommendation.

Current Unfunded Projects
 2021-         Trauma-informed care
               Co-Investigator
               This project is developing assessment tools and a guide for assessment of trauma-informed skills
               in medical education. My role is in development of the assessment tool and analysis of results.
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2023-           Visual Arts in Medicine
                Consultant
                Multicenter research into effect of participation in a Visual Thinking Strategies workshop series on
                internal medicine interns’ clinical reasoning. My role is in development of the assessment tool and
                analysis of results.

Report of Local Teaching and Training
Teaching of Students in Courses
2010-            Practice of Medicine POM 100                                    HMS
                 Performing the Breast and Pelvic Exam                           3-hour session, 1 per year
                 Second-Year Medical Students
2012-            Core Clerkship OBGYN 102-OB600M.5                               BIDMC
                 Second and Third-Year Medical Students, 55-60 per year          2-hour rotations, 8 per year
2014-2020        OBGYN Bootcamp 250-OB590M.1                                     HMS
                 Fourth-Year Medical Students, 8-12 per year                     24 hours over 4 weeks per year
2014-2017,       HST 010: Functional Human Anatomy                               HMS
2023, 2024       Female Pelvic Anatomy                                           4 hours per year
                 First-Year Harvard-MIT Division of Health Sciences and
                 Technology Students, 25-30 per year
2016-2023        Transitions to the Principle Clinical Experience Course         HMS
                 PWY150                                                          15 hours over 5 weeks per year
                 Second Year Medical Students, 135-140 per year
2018-            Professional Development Week PDW 1 and PDW2                    HMS
                 First Year Medical Students, 15 per year                        7 hours per year
2019-            Homeostasis 2: Physiology and Pathophysiology of                HMS
                 Pregnancy                                                       3 hours per year
                 First Year Medical Students, 35-37 per year
2021-2024        Clinical Capstone, OBGYN (OB 501 M 1C)                          HMS
                 Direct Observation and Assessment of Entrustability, Clinical   5-hour session, 8 weeks per year
                 Capstone
                 Fourth Year Medical Students, 8-12 per year


Formal Teaching of Residents, Clinical Fellows, and Research Fellows (post-docs)
 2011-2016    Monthly Resident Case Review                                BIDMC
              OBGYN residents                                             1-hour case review per year
 2012-2016    Resident as Teacher Series: Ambulatory Teaching             BIDMC
              OBGYN residents                                             1-hour lecture per year
 2013-        Resident as Teacher Series: Giving Effective Feedback       BIDMC
              OBGYN residents                                             1-hour lecture per year
 2013, 2020, Professionalism and Social Media                             BIDMC
 2021         OBGYN residents                                             1-hour lecture per year
 2013-2015     Ambulatory OBGYN Series                                     BIDMC
               OBGYN residents                                             1-hour lecture every 6 weeks
 2013-2018     CREOG Review Lecture series                                 BIDMC
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               OBGYN residents                                           1 hour per year
 2019          Noon Conference: Art in the Afternoon                     BIDMC
               Internal Medicine Residents                               1-hour workshop
 2021-         Resident Professional Development: Resident as            BIDMC
               Teacher                                                   1-hour workshop per year
               OBGYN Residents
 2021          Resident Professional Development: Teaching Clinical      BIDMC
               Reasoning                                                 1-hour workshop
               OBGYN Residents
 2022          Teaching Medical Students                                 BIDMC
               OBGYN Fellows                                             1-hour workshop
 2022          Resident Professional Development: Feedback,              BIDMC
               Procedural Skills, and the One-Minute Preceptor           1-hour workshop
               OBGYN Residents
 2022-         Rabkin Medical Education Fellowship                       BIDMC
               Medical Education Fellows                                 14 hours per year
 2023          Resident Professional Development: Laparoscopic Skills    BIDMC
               Training Workshop                                         3 hours per year
               OBGYN Residents
 2023          Resident Professional Development: Giving Chalk Talks     BIDMC
               Workshop                                                  1 hour per year
               OBGYN Residents


Clinical Supervisory and Training Responsibilities
 1997-1998      Ambulatory Practice                              Penn State Geisinger Medical Center
                Clinical Preceptor                               8 hours per week
                OB/GYN and Family Practice residents and
                medical students (avg. of 2 per week)
1997-1998      Labor and Delivery                                Penn State Geisinger Medical Center
               Clinical Preceptor                                8 hours per week
               OB/GYN and Family Practice residents and
               medical students (avg. of 3 per week)
2010-2020      Ambulatory OBGYN                                  Bowdoin Street Health Center
               Clinical Preceptor                                3 hours per week
               OBGYN Residents (average of 1 per week)
2010-          Supervisor of OBGYN Residents in Labor on         BIDMC
               Delivery, Operating Room (avg. of 4 per week)     18 hours per week
2010-2021      OBGYN Core Clerkship                              BIDMC
               Clinical Preceptor                                4 hours per week
               2nd year medical students (avg. of 10 per year)
2010-          Gynecology Inpatient Service                      BIDMC
               Clinical Supervisor                               6 weeks per year
               OBGYN Residents, 4 per week



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2012-2020     Women’s’ Community Health Elective                Bowdoin Street Health Center
              Clinical Preceptor                                3 hours per month
              4th year medical students (avg. of 3 per year)
2015, 2018,   Clinical supervisor: MOMS project                 BIDMC
2019          1st year medical students (avg. of 6 per year)    1 hour per month
2016-         Specialty Career Advising                         HMS
              3rd- and 4th-year medical students (8-12 per      3 hours per month
              year)


Formally Mentored Harvard Students
 2017-2018    Iman Berrahou, HMS Class of 2018
              Provided career mentorship and supervision of national presentation, “Strategies to Improve the
              Cervical Cancer Screening Experience for LGBTQ Patients” CREOG/APGO Annual Meeting;
              Accomplishment: successful residency match; Dr. Berrahou’s video presentation was adopted by
              the OBGYN Clerkship Committee at HMS as part of the core clerkship curriculum.
 2017-2018    Gillian Horwitz, HMS Class of 2018
              Provided career mentorship and supervision of curriculum development. Dr. Horowitz contributed
              to the development of a Fourth-year elective in Women’s Health and Medical Education, HMS and
              had successful residency match.
 2017-2018    Francesca Barrett, HMS Class of 2018
              Provided career mentorship and supervision of expansion of the student-run Crimson Care
              Collaborative to include women’s health. Dr. Barrett had a successful residency match.
 2020 -2021   Isabelle Wijangco, HMS Class of 2021
              Served as their Scholars in Medicine Project, Career and Residency Application Advisor. Dr.
              Wijangco had a successful residency match.
 2020 -2022   Juliet Musabeyezu, HMS Class of 2022
              Served as their Scholars in Medicine Project, Career and Residency Application Advisor. Dr.
              Musabeyezu had a successful residency match.
 2021-2023    Rachel Stoddard, HMS Class of 2023
              Served as their Scholars in Medicine Project, Career and Residency Application Advisor. Ms.
              Stoddard developed, implemented, and evaluated an educational simulation for pre-clerkship
              students, presented at NEGEA conference and AAMC Learn Serve Lead 2023; manuscript in
              development. In addition, she has a successful residency match.
 2021-2024    Salvatore Daddario, MS, HMS Class of 2024
              Served as the principal investigator for an educational QI project. Mr. Daddario developed,
              implemented, and evaluated an educational simulation for pre-clerkship students, presented at
              AAMC Learn Serve Lead 2023; manuscript in development.
 2021-2024    Hailey Winstead, HMS Class of 2024
              Served as principal investigator for an educational QI project. Ms. Winstead developed,
              implemented, and evaluated an educational simulation for pre-clerkship students, presented at
              AAMC Learn Serve Lead 2023; manuscript in development.
 2023-2024    Alexandra Krauss, MD. Master’s in Education Program, HMS
              Served as Chair of Thesis Committee. Thesis: Mixed Signals: Navigating the Obstetrics and
              Gynecology Signaling Initiative
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 2024          Matthew Parsons, HMS Class of 2024
               Committee Member, Honors in a Special Field Program. Thesis: Medical Students as Surgical
               Educators: A Near Peer Teaching Program for the Core Surgery Clerkship

Other Mentored Trainees and Faculty
 2011-2014     Kristin Hung, MD, Instructor, Urogynecology and Reconstructive Pelvic Surgery, Massachusetts
               General Hospital
               Career stage: Resident; Mentoring role: Career mentorship, formal mentor; Accomplishment:
               successful fellowship matching
 2011-2013     Annie Liu, MD, Staff Physician, Gynecologic Oncology, Kaiser Permanente, Clackamas, OR
               Career stage: Resident; Mentoring role: Career mentorship; Accomplishment: successful fellowship
               matching
 2013-2015     Margaret Chory, MD, Clinical Assistant Professor, Department of Obstetrics, Gynecology and
               Reproductive Sciences, University of Pittsburgh
               Career stage: Resident; Mentoring role: Career mentorship, formal mentor; Accomplishment:
               entered academic practice, University of Pittsburgh
 2014-2015     Nancy Ringel, MD, MS, Assistant Professor, Department of Obstetrics, Gynecology and
               Reproductive Sciences, Yale School of Medicine
               Career stage: student; Mentoring role: Career mentorship, advisor for residency application;
               Accomplishment: successful residency match
 2014-2015     Yetunde Ibrahim, MD, private practice, Utah Fertility Center
               Career stage: Junior faculty; Mentoring role: Career mentorship, formal mentor; Accomplishment:
               Entered faculty position as Instructor of OBGYN at BIDMC.
 2014-2015     Erin Brooks, MD, Staff Physician in OBGYN, Hartford Hospital, Hartford, CT
               Career stage: Resident; Mentoring role: Career mentorship, formal mentor; Accomplishment:
               obtained faculty position in OBGYN at BIDMC
 2014-2016     Ebonie Woolcock, MD, MPH, Assistant Professor, Clerkship Director for OBGYN, and Assistant
               Dean for Diversity and Inclusion, Boston University School of Medicine
               Career stage: Junior Faculty; Mentoring role: Career mentorship, formal mentor in the Kraft Family
               Fellowship in Community Health Leadership, Bowdoin Street Health Center; Accomplishment:
               During the fellowship, Dr. Woolcock designed and implemented a new curriculum on financial
               literacy, which was adopted into the national CenteringPregnancy prenatal care course.
 2015-2016     Sarrah Shahawy, MD, Instructor, Obstetrics, Gynecology and Reproductive Biology, BIDMC
               Career stage: Medical student; Mentoring role: Career mentorship, advisor for residency
               application; Accomplishment: successful residency match. Dr. Shahawy is an Instructor of
               Obstetrics, Gynecology and Reproductive Biology at HMS and a member of the Global and
               Community Health Division of the Department of OBGYN at BIDMC.
 2015-2019     Nisha Verma, MD, Darney-Landy Fellow, American College of Obstetricians and Gynecologists and
               Assistant Professor, Department of Gynecology and Obstetrics, Emory University
               Career stage: Resident; Mentoring role: supervision of educational research project,
               Accomplishment: Implementation of “Intimate Partner Violence Workshop” into OBGYN Clerkship
               Curriculum. Presented at the Association of Professors of Gynecology and Obstetrics Faculty
               Development Seminar, Palm Springs, CA January 2017. Published “Intimate Partner Violence in
               Pregnancy”. Scientific American OBGYN Online. 2018

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2015-2019    Yamicia Connor, MD, PhD, MPH, CEO and Founder of Diosa Ara, Founder of Race to Better Health
             Career stage: student, resident; Mentoring role: Career mentorship, supervision of educational
             project: Online OBGYN Medical Education Resident Review, BIDMC; Accomplishment: Curriculum
             submitted for publication
2016-2018    Tariro Mupombwa, MD, Assistant Professor, OBGYN, Clinician Educator, Warren Alpert Medical
             School of Brown University
             Career stage: Resident; Mentoring role: supervision of quality improvement project;
             Accomplishment: Quality improvement project, “PACU Length of Stay after Outpatient
             Hysterectomy”. Poster presentation Silverman Institute and Grand Rounds.
2016-2018    Mary Carson, MD
             Career stage: Faculty; Mentoring role: mentored Dr. Carson’s re-entry into clinical medicine.
             Accomplishment: Dr. Carson successfully resumed a clinical medicine career as Instructor of
             Obstetrics, Gynecology and Reproductive Biology at HMS and a member of the Academic
             Generalist OBGYN Division of the Department of OBGYN at BIDMC. Dr. Carson is now retired.
2018-2022    Lydia Flier, MD, Instructor, Department of Medicine, Mount Auburn Hospital
             Career stage: Junior faculty; Mentoring role: supervision of educational project: Professionalism
             curriculum; Accomplishment: Curriculum published in MedEdPORTAL
2018         Monica Mendiola, MD, OBGYN Medical Director, East Boston Neighborhood Health Center
             Career stage: Junior faculty; Mentoring role: Formal Mentorship through APGO Faculty
             Development Seminar Presenters “Power Up” mentoring program for first-time presenters.
             Accomplishment: successful application for subsequent presentations
2018-2019    Robert Weatherford, MD, Instructor in Obstetrics, Gynecology and Reproductive Biology,
             Massachusetts General Hospital
             Career stage: student; Mentoring role: Career mentorship, Career and Residency Application
             Advisor; Accomplishment: successful residency match
2019-2020    Samantha Truong, MD, Department of OBGYN, Boston Medical Center and Assistant Professor at
             Boston University School of Medicine
             Career stage: student; Mentoring role: Career mentorship, Career and Residency Application
             Advisor; Accomplishment: successful residency match
2019-2020    Allison Merz, MD, Fellow, University of California San Francisco
             Career stage: student; Mentoring role: Career mentorship, Career and Residency Application
             Advisor; Accomplishment: successful residency match
2019-2021    David Toffey, MD, Staff Physician, Department of OBGYN, Pennsylvania Hospital
             Career stage: resident; Mentoring role: Formal career mentor through BIDMC OBGYN residency
             program.
2020 -2021   Natalie Posever, MD, Resident, Department of OBGYN, BIDMC
             Career stage: student; Mentoring role: Career mentorship, Career and Residency Application
             Advisor; Accomplishment: successful residency match
2020 -2021   Zoe Kiefer MD, MPH, Clinical Faculty, Tufts Medical Center, Medford MA
             Career stage: Junior faculty; Mentoring role: Formal career mentor through BIDMC OBGYN
             department faculty mentorship program.
2021 -2022   Mugdha Mokashi, MD, Resident, Department of OBGYN, Northwestern Medicine
             Career stage: student; Mentoring role: Career mentorship, Career and Residency Application
             Advisor; Accomplishment: successful residency match

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 2021 -2022     Sonya Bharadwa, MD, Resident, Department of OBGYN, Northwestern Medicine
                Career stage: student; Mentoring role: Career mentorship, Career and Residency Application
                Advisor; Accomplishment: successful residency match
 2021-2023      Sophia Yin, MD, Resident, Department of OBGYN, Brigham and Women’s Hospital and
                Massachusetts General Hospital
                Career stage: student; Mentoring role: Career mentorship, Career and Residency Application
                Advisor; Accomplishment: successful residency match
 2021-2023      Leah Schwartz, MD, Resident, Department of OBGYN Brigham and Women’s Hospital and
                Massachusetts General Hospital
                Career stage: student; Mentoring role: Career mentorship, Career and Residency Application
                Advisor; Accomplishment: successful residency match
 2021-          Tracy Byrne, MD, Instructor in Obstetrics, Gynecology and Reproductive Biology, BIDMC
                Career stage: new faculty; Mentoring role: Career mentorship, develop skills and knowledge to
                assume educational leadership role; Accomplishment: Dr. Byrne has assumed educational
                leadership roles as director of the Labor and Delivery rotation for students and residents and
                assistant Clerkship Site Director.
 2022-2023      Ashley Comfort, MD, Medical Director, Oula Health, Inc.
                Career stage: Junior faculty; Mentoring role: Career mentorship, develop skills and knowledge to
                assume educational leadership role; Accomplishment: Dr. Comfort has assumed educational roles
                in providing faculty development.

 2025           Marla Scott Kelly, MD, MPH Assistant Clinical Professor of Obstetrics and Gynecology, Beauregard
                Health System, DeRidder, LA
                Career stage: faculty; Mentoring role: Career mentorship, develop skills and knowledge to assume
                educational leadership role; Accomplishment: mentor relationship in progress

 2025           Lindsey Borgia, MD: Assistant Professor of Obstetrics and Gynecology, United States Uniformed
                Health Services, Bethesda, MD
                Career stage faculty; Mentoring role: Career mentorship, develop skills and knowledge to assume
                educational leadership role; Accomplishment: mentor relationship in progress

 2025           Kimberly Pilkinton, MD MPH, Associate Professor of Obstetrics and Gynecology, University of
                Houston Tilman J. Fertitta Family College of Medicine Houston, TX
                Career stage: faculty; Mentoring role: Career mentorship, develop skills and knowledge to assume
                educational leadership role; Accomplishment: mentor relationship in progress



Formal Teaching of Peers (e.g., CME and other continuing education courses)
No presentations below were sponsored by outside entities.
 2011-         Obstetrical Simulation: Evaluation and Management      Four 3-hour sessions per year
               of Obstetrical Emergencies                             Department of OBGYN, BIDMC
 2016          Direct Observation of Students for Assessment          90-minute workshop
               Faculty Development Seminar                            Department OBGYN, BIDMC
 2016          Teaching and Assessing Critical Thinking Skills        90-minute workshop
                                                                      BIDMC Academy of Medical Educators


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 2018          Team Teaching in Transition to the Principle Clinical   Four 1-hour workshops
               Experience                                              HMS
               Faculty Development Seminar
 2024          The Perils of not writing what you mean: How to         1- hour presentation
               write a letter of recommendation                        BIDMC Academy of Medical Educators


Local Invited Presentations
No presentations below were sponsored by outside entities.
 2013          Education Works in Progress/Lunchtime Series
               BIDMC Academy (formerly the Academy of Medical Educators at BIDMC)
 2014          Improving Communication Through the Development of a Uro-Gyn Clinical
               Pathway/Presentation
               Silverman Institute for Health Care Quality and Safety Symposium, BIDMC.
 2015          Surgical Teaching and Learning/Grand Rounds
               Department of OBGYN, BIDMC
 2016          Decreasing the PACU Length of Stay for Ambulatory Gynecology Patients/Presentation
               Silverman Institute for Health Care Quality and Safety Symposium, BIDMC
 2016          Introduction of Outpatient Hysterectomy Clinical Care Pathway/Presentation
               Silverman Institute for Health Care Quality and Safety Symposium, BIDMC.
 2016          Are You Game? Gamification in Medical Education/Lunchtime Seminar
               BIDMC Academy
 2016          Thinking About Our Thinking: An Exploration of Cognitive Bias and Clinical Reasoning
               Pitfalls/Seminar
               The Academy at Harvard Medical School (presented twice)
 2017          Teaching and Assessing Critical Thinking Skills/Grand Rounds
               Department of OBGYN, BIDMC
 2017          Implementation of a New Lab Order Interface for the OBGYN Department/Presentation
               Silverman Institute for Health Care Quality and Safety Symposium, BIDMC.

 2018          Critical Thinking, Metacognition and Cognitive Biases in the Prevention of Medical Error/Grand
               Rounds
               Department of OBGYN, BIDMC
 2018          Art in the Afternoon: The Intersection of Visual Arts, Medicine, Teaching and Wellness/Workshop
               BIDMC Academy
 2018          Quality Assurance and Quality Improvement Processes: Forming Committees to Improve Quality/
               invited presentation
               Harvard Medical Faculty Physician Leadership Program for OBGYN Health Systems Innovation
               and Excellence
               Boston, MA
 2019          Gynecology and Obstetrics Advising Team: GO, GOAT! /Faculty Development Seminar in Advising
               HMS



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2020       Trauma Informed Care in Medical Education: Trauma-informed Curriculum
           Development/Medical Education Grand Rounds
           The Academy at HMS
2020       Striving for Our Personal and Professional Best: Virtual Mentoring for Professional Growth/Grand
           Rounds
           Department of OBGYN, BIDMC
2020       Trauma Informed Care in Medical Education: Applications to Surgical Training/Grand Rounds
           Department of Surgery, Cambridge Health Alliance
2020       Trauma Informed Care in Medical Education: Applications in OBGYN/Grand Rounds
           Department of OBGYN, BIDMC
2021       Combating Inequality in Women's Healthcare: Opportunities to Increase Access and
           Education/Panel Moderator
           30th Annual Dynamic Women in Business Conference: Inspire to Rebuild. Harvard Business
           School
2021       Feedback Basics for Busy Clinicians/ Grand Rounds
           Department of Otolaryngology, BIDMC

2021       How to Peer Review a Manuscript/Workshop
           Department of OBGYN Peer Mentoring Group, BIDMC
2022       Academic Resolutions/ Workshop
           BIDMC Academy of Educators
2023       Surgical Teaching that Shines: Techniques for Teaching in the OR/Grand Rounds
           Department of OBGYN, BIDMC
2023       Thorndike Lecture, Clinical Reasoning Week: Thinking like a doctor: Strategies for enhancing
           clinical reasoning in medical education/ Workshop
           Department of Medicine, BIDMC
2023       Undergraduate Medical Education at Harvard Medical School: An Overview
           BIDMC Academy of Educators
2023       Clinical Teaching Tips/ Workshop
           BIDMC Academy of Educators
2024       Academic Resolutions/ Workshop
           BIDMC Academy of Educators
2024       Teaching on the Fly: Giving Effective Chalk Talks/Grand Rounds
           Department of OBGYN, BIDMC
2024       Advances in Trauma-informed Medical Education: Essential Competencies and Interprofessional
           Education
           Brigham and Women’s Hospital
2024       The Clinical Learning Environment/ Grand Rounds
           Department of Obstetrics and Gynecology
2025       New Year, New Academic Resolutions
           BIDMC Academy of Educators



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Report of Regional, National and International Invited Teaching and Presentations
No presentations below were sponsored by outside entities.
Regional
 2010          OBGYN Quality Review
               Department of OBGYN, Anna Jaques Hospital, Newburyport, MA

 2016          Surgical Teaching and Learning/Grand Rounds
               Department of OBGYN, Lahey Clinic, Burlington, MA
 2021          Endometriosis/Lecture
               Betsy Lehman Center for Patient Safety, Commonwealth of Massachusetts, Boston, MA
 2021          Teaching about our Thinking: Cognitive Bias, Critical Thinking and Prevention of Diagnostic
               Error/Grand Rounds
               Department of OBGYN, University of Connecticut UConn Health Center, Farmington, CT
               Presented virtually
 2021          Trauma Informed Care in Medical Education: Applications in Emergency Medicine/Grand
               Rounds Department of Emergency Medicine, University of Vermont, Burlington VT
               Presented virtually
 2022          Challenging Learners: Helping the struggling student/Medical Education Grand Rounds
               The Teaching Academy, Larner College of Medicine, University of Vermont, Burlington VT
               Presented virtually
 2023          Prenatal Diagnosis: Thalassemia/Lecture
               Betsy Lehman Center for Patient Safety of the Commonwealth of Massachusetts
               Boston, MA
 2024          Mentoring for Residents/ Workshop
               American College of Obstetricians and Gynecologists, District I, V, and VI Annual Meeting
               Boston, MA
National
 2014          Changing the Culture: Tackling the Teaching of Students on Labor and Delivery/ invited
               presentation
               APGO Faculty Development Seminar
               West Palm Beach, FL
2014,          Association of Professors of Gynecology and Obstetrics, Council on Resident Education in
2015           OBGYN (APGO/CREOG)
               Poster Judge and Oral Presentation Moderator, Annual Meetings
               Atlanta, GA and New Orleans, LA
2015           A Night at the Museum: Using Visual Arts to Foster Humanism in Medicine/ invited
               presentation
               APGO Faculty Development Seminar
               Palm Springs, CA
2015           Optimizing Your Resources: Multi-Institution Collaborations for Milestone 1
               Implementation/ invited presentation
               APGO Faculty Development Seminar
               Palm Springs, CA

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2015      Writing for Wikipedia: Empowering Learners as Educators in the Digital Age/ invited
          presentation
          CREOG APGO Annual meeting
          San Antonio, TX
2016       Constructive Dissection of the Pelvis: A Simulation to Improve Clinical Knowledge of
           Gynecologic Anatomy/ invited presentation
           APGO Faculty Development Seminar
           Bonita Springs, FL
2016       The Residency Application Process: Burdens and Consequences/ invited on-line
           presentation
           New England Journal of Medicine Group Open Forum, @NEJM Ask the Authors and Experts
2016       It’s Not So Easy: Teaching and Learning in the Operating Room/ invited presentation
           CREOG APGO Annual meeting
           New Orleans, LA
2016       Tout Bagay Anfom? Is Everything Okay? Working with the Challenging Learner/ invited
           presentation
           CREOG APGO Annual meeting
           New Orleans, LA
2016       Perceived Stress among OBGYN trainees before and after wellness activity/ Plenary
           Presentation
           The Art of Examination: Art Museums with Medical Schools Partnerships, Museum of
           Modern Art
           New York, NY
2016       The Future of the Step 2 Clinical Skills Exam/ invited on-line presentation
           NEJM Group Open Forum, @NEJM Ask the Authors and Experts

2017       Thinking about Your Thinking: An Exploration of Cognitive Biases and Clinical Reasoning
           Pitfalls/ invited presentation
           APGO Faculty Development Seminar
           Palm Springs, CA
2017       Charting the Course: Designing a Fourth-Year OB-GYN Curriculum Using Entrustable
           Professional Activities/ invited presentation
           APGO Faculty Development Seminar
           Palm Springs, CA
2017       Behind Closed Doors: Teaching Learners to Address Intimate Partner Violence/ invited
           presentation.
           APGO Faculty Development Seminar
           Palm Springs, CA
2017       Thinking about our thinking: An exploration of cognitive biases and strategies for teaching
           critical thinking/ invited 2-day Workshop.
           Teaching Academy of the Consortium of West Region Colleges of Veterinary Medicine
           Fort Collins, CO
2018       Cleansing the Curriculum: The EPA Energy Drink/ invited presentation
           APGO Faculty Development Seminar
           Manalapan, FL
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2018       A New Ship Setting Sail: Putting Ob-Gyn Specific Entrustable Professional Activities into
           Action/ invited presentation
           CREOG/APGO Annual Meeting
           National Harbor, MD
2018       Full Steam Ahead: Putting Student Well-Being at the Helm/ Plenary Session
           Medical Education Clerkship Coordinators of OBGYN Annual Meeting
           National Harbor, MD
2018       Strategies to Improve Cervical Cancer Screening for LGBTQ Patients: A Film-based
           Curriculum/ invited presentation
           CREOG/APGO Annual Meeting
           National Harbor, MD
2018       Building a Better Boat: Development of Clinical Care Pathways for Resident Quality
           Improvement Projects/ invited presentation
           CREOG/APGO Annual Meeting
           National Harbor, MD
2018       Post-partum Hemorrhage/ invited presentation
           International Humanitarian Surgery: American College of Surgeons Annual Clinical Congress
           Boston, MA
2019       What Were They Thinking? Using Critical Thinking and Cognitive Bias Awareness to Improve
           Patient Care/ invited presentation
           APGO Faculty Development Seminar
           Maui, HI
2019       Finding Tomorrow’s Sunshine: Developing the Next Generation of Medical Educators/ invited
           presentation
           APGO Faculty Development Seminar
           Maui, HI
2019       Transition to Residency Course: the HMS Experience/ invited presentation
           National Residency Match Program: Transition to Residency Conference
           Chicago, IL
2020       Cognitive Biases in Clinical Medicine/ invited presentation
           Innovations Festival/APGO Faculty Development Seminar
           Bonita Springs, FL
2020       Bridging the Gap: Development of OBGYN-specific entrustable professional activities in
           preparation for residency/ invited presentation
           Association of American Medical Colleges Learn Serve Lead conference
           Virtual
2020       Webinar - Leadership & Learning During Twin Pandemics: Get GYN-spired
           APGO Faculty Development
           Virtual
2021       Self-Defense for Sexual Harassment: Empowering Learners and Cultivating Culture Change/
           invited presentation
           APGO Faculty Development Seminar
           Virtual


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2021       Beth Israel Deaconess Medical Center Labor & Delivery Overview/ invited presentation
           Innovation Festival, CREOG /APGO Annual Meeting
           Virtual
2021       Equitable Advising in the Fourth Year: Guiding Students and Faculty in Our New Reality/
           invited presentation
           CREOG /APGO Annual Meeting
           Virtual
2021       Clerkship 101: Roles and Logistics of Running a Clinical Course/ invited presentation, live
           webinar
           Alliance for Clinical Education (ACE) Clinical Faculty Development Series 101
           Virtual
2022       Inch by Inch, Row by Row, I’m Going to Help this Interprofessional Team Grow/ invited
           presentation
           APGO Faculty Development Seminar
           Virtual
2022       Entrust or Bust: Eliminating Bias in Assessments on the Road to Clinical Competency/ invited
           presentation
           APGO Faculty Development Seminar
           Virtual
2023       Writing effective narratives/ invited presentation
           APGO Faculty Development Seminar
           Scottsdale, AZ
2023       Diverse by design: Making room for all on the road to success/ invited presentation
           CREOG and APGO Annual Meeting
           National Harbor, MD
2023       Bridge over Troubled Waters: Redesigning Student Abortion Education/ invited presentation
           CREOG and APGO Annual Meeting
           National Harbor, MD
2023       Transition to the Principal Clinical Experience: A simulation-based curriculum for increasing
           situational awareness in pre-clerkship medical students/ invited presentation
           American Medical Association’s biennial ChangeMedEd Conference
           Chicago, IL
2024       Practical Life Hacks: Tips and Tricks to Shine your Med Ed Scholarship Sparkle/ invited
           presentation
           APGO Faculty Development Seminar
           Amelia Island, FL
2024       Design and Shine: Giving Effective Chalk Talks on L&D/ invited presentation
           APGO Faculty Development Seminar
           Scottsdale, AZ
2024       Introducing Planetary Health into your Curricula/ invited presentation
           CREOG/APGO Annual Meeting
           San Antonio, TX



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2024            Transforming Paradigms of Professionalism: Grounding Professional Behaviors in Equity and
                Advocacy / invited presentation
                CREOG/APGO Annual Meeting
                San Antonio, TX
2024            Trauma Informed Medical Education/ invited presentation
                Association of American Medical Colleges Learn Serve Lead conference
                Atlanta, GA

International
 2017            Teaching and Assessing Critical Thinking Skills.
                 Training for Teachers Program, Harvard Medical School Global and Continuing Education
                 Online session for medical faculty in Andra Pradesh, India
2017             Teaching and Assessing Critical Thinking Skills.
                 Medical Education Academic Specialty Track, Global Pediatrics Leadership Program Harvard
                 Medical School Global and Continuing Education
                 Online session for 60 pediatricians in Shanghai, China.
2017             “Minimally Invasive Surgical Techniques: Hysteroscopy and Laparoscopy”. One week visiting
                 professorship, Hospital Agostinho Neto, Praia, Santiago, Cape Verde, and University of Cape
                 Verde
2018             “Operative Hysteroscopy Surgical Techniques”/ One week visiting professorship
                 Hospital Agostinho Neto, Praia, Santiago, Cape Verde, and University of Cape Verde
2021             Trauma Informed Care in OBGYN/ Grand Rounds
                 Department of OBGYN, University of Botswana
                 Virtual
2022             Responding to Trauma Disclosures in Obstetrics ang Gynecology/Grand Rounds
                 Department of OBGYN, University of Botswana
                 Virtual

Report of Clinical Activities and Innovations
Current Licensure and Certification
 2011          Basic Life Support (BLS), biannual renewal (original 1989)
 2014          Fundamentals of Laparoscopy Surgery Certification
 2021          American Board of Obstetricians and Gynecologists, renewal (original 1995)
 2022          Massachusetts Medical License


Practice Activities
 2010-2020       Staff Obstetrician and         Bowdoin Street Health Center,    20 hours per week
                 Gynecologist                   Dorchester, MA
2010-2020       Staff Obstetrician and          BIDMC                            12 hours per week
                Gynecologist
2020-           Staff Obstetrician and          BIDMC                            20 hours per week
                Gynecologist- Laborist
Clinical Innovations

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Centering              I implemented the CenteringPregnancy model of prenatal care, including a modification
Pregnancy              to include financial literacy developed by my mentee, Dr. Ebony Woolcock. This served
Bowdoin Street         approximately 85 obstetric patients per year, all of whom were classified as high-risk
Health Center          pregnancies. The financial literacy module developed here was adopted by the national
2012-2018              CenteringPregnancy program.

Clinical Care          As physician chair of the Gynecology Leadership Committee, I led the implementation of
Pathways               a multi-disciplinary clinical care pathways for common gynecologic procedures. The
2015-2016              development and implementation process of these projects were presented at the
                       Silverman Institute for Health Care Quality and Safety Symposium and at the
                       CREOG/APGO Annual Meeting as poster presentations:
                        o Urogynecology outpatient procedures (2015)
                        o Outpatient hysterectomy for benign gynecology (2016)
Physician Order        As physician chair of the Gynecology Leadership Committee, I led a multidisciplinary team
Entry in Online        in the design and implementation of new order sets for ambulatory surgery and clinical
Medical Record         OBGYN practices, which streamlined, simplified and standardized ordering practices in
2017                   the OBGYN department. This project was presented at the Silverman Institute for Health
                       Care Quality and Safety Symposium.
Doula Program          Working with community representatives, I organized a team of health professionals and
2020-2021              doulas to design a language concordant doula support program for pregnant and birthing
                       people at Bowdoin Street Health Center.


Report of Teaching and Education Innovations
 Hand-off              I developed a simulation to teach patient hand-off skills to students in the clerkship and
 Simulation for        post-clerkship. This curriculum was used in the fourth-year Boot Camp elective for HMS
 BIDMC OBGYN           students entering OBGYN residency and is currently a component of the Clinical Capstone
 Clerkship             course. The curriculum was published on MedEdPORTAL, with over 1300 views and 299
 2012                  downloads of the curriculum.
 Medical Writing       I developed a curriculum to instruct fourth year medical students in on-line editing of
 for Wikipedia -       Wikipedia entries in OBGYN and women’s health. Impact: views for topics edited in 30
 HMS OBGYN Boot        days following student participation increased to over 100,000 from 18,000 year over
 Camp                  year.
 2013-2018
 Gynecology and        I am a founding member of the advising team for medical students applying into OBGYN
 Obstetrics Advising   at HMS, the first specialty advising team at HMS. In response to student concerns
 Team                  regarding the quality and consistency of career advising we designed a team-based
 2014-                 approach in which every student applying in OBGYN is assigned a faculty specialty advisor
                       to guide the student through the application to residency process, with a three-pronged
                       curriculum and regular mentoring sessions. Since implementation, we have seen a steady
                       rise in the number of applicants from HMS into OBGYN (average 5-6 per year to average
                       10-12 per year).




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Night at the          I developed a 2-hour workshop in conjunction with the Museum of Fine Arts, Boston to
Museum:               improve wellness and resiliency among residents in the OBGYN Department. Outcomes
Wellness,             were reported at the national CREOG/APGO annual meeting in 2016. This curriculum was
Resiliency, and       adapted for use with multiple local residency programs across the HMS affiliated hospitals
Visual Arts           and was a component of APGO’s Clerkship Director School. The program served as a
2015-2019             model for a current multi-center randomized study of the efficacy of Visual Thinking
                      Strategies in improving clinical reasoning among internal medicine residents.

HMS OBGYN             In response to medical student requests for teaching opportunities, I developed and
Clerkship Rounds:     implemented a clerkship session designed to improve peer-to-peer teaching skills in
Student as Teacher    medical students. The session has become a standard component of the OBGYN clerkship
2016                  syllabus.

HMS OBGYN             Direct Observation of Clinical Skills is a program to provide feedback using competency-
Clerkship: Direct     based work-place assessment tools to students on clinical skills of history taking, physical
Observation of        exam and patient counseling in real time, using completely observed patient encounters
Clinical Skills       with real patients. This session is consistently rated as the highest value clinical learning
2016-                 experience on the OBGYN clerkship. The project was the subject of an invited
                      presentation at the CREOG/APGO Annual meeting in 2018.
Professionalism for   Curriculum developed to teach HMS students entering the clinical clerkship year topics of
Medical Students      professionalism. The curriculum consists of a flipped-classroom video, a simulation
for Transition to     session, and group and individual feedback for medical students. This curriculum was
the Principle         published in MedEdPORTAL in December 2023, and has over 400 views with 83
Clinical Experience   downloads of the curriculum.
2017-2020
Developing            Curriculum developed to orient HMS students entering the clinical clerkship year to the
Situational           operating room environment. The curriculum consists of a flipped-classroom video, a
Awareness in the      simulation session, and group and individual feedback for medical students. Curricular
Operating Room        evaluation published in the Journal of Surgical Education in 2023, ranking in the 82nd
for Transition to     percentile for captures (Scopus data). The simulation curriculum is submitted for
the Principle         publication in MedEdPORTAL.
Clinical Experience
2018-2020, 2022

A Trauma-             Video-based curriculum to orient HMS students entering the clinical clerkship year to
informed              performing common surgery and emergency department procedures from a trauma-
Approach to           informed perspective. The curriculum consists of a flipped-classroom video, a simulation
Common                session, and group and individual feedback for medical students.
Procedures for
Transition to the
Principle Clinical
Experience
2019-2020

Medical Education     I introduced a quarterly series of five-minute faculty development tips for OBGYN
Quick Tips            department on medical education strategies, clinical teaching, and updates on learning
2019-                 environment. This is a component of the department’s faculty development strategy.



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Transition to the     Due to the COVID-19 pandemic, I co-led a team of over 20 faculty in redesigning the
PCE curriculum        Transition to the PCE course for online, virtual, and asynchronous presentations, including
2020-2022             faculty development for on-line interactive teaching. I took primary responsibility for the
                      organization and logistics of the first in-person pre-clerkship teaching sessions held during
                      the pandemic, ensuring the safety of over 150 students and faculty.
Virtual case          In response to the urgent need to convert all clinical experiences to virtual learning during
conference            the COVID-19 pandemic, I designed online content for a virtual case conference for 2
curriculum for        cases, including faculty teaching guide, assessment, and feedback guide. The curriculum
Transition to the     used both asynchronous and live online teaching to cover common topics seen clinically
Principle Clinical    in the OBGYN clerkship, preparing students for their eventual return to clinical duties.
Experience            This curriculum was used to teach over 180 HMS students between April and October
2020                  2020.
Interprofessional     I led a team of interprofessional educators to design a podcast and online interactive
Education Podcast     workshop for 135 second year HMS students to promote interprofessional collaboration,
for Transitions to    in response to limitations on in-person interprofessional education due to the COVID-19
the Principle         pandemic. The podcast recording was subsequently incorporated into the curriculum for
Clinical Experience   this course. The project was published in MedEdPORTAL, with over 750 views and 95
2020                  downloads of the curriculum.
Advanced Clinical     I led a team of HMS medical educators to develop a 3-week long curriculum to augment
Content and Skills    the clinical skills and meet the unique needs of second year HMS medical students whose
2020                  pre-clinical classwork was interrupted in March 2020 by COVID 19 restrictions. The
                      curriculum included basic and advanced clinical diagnostic skills, clinical reasoning, and a
                      focus on the hypothesis-driven physical exam. Because of its success, we incorporated
                      the curriculum into the Transition to the PCE course, which has now been completed by

Medical Education     I organized and implemented a twice monthly Medical Education Think Tank (METT), a
Think Tank for        supportive writing group where faculty and trainees can meet to design, implement,
Department of         write, and publish medical education projects. Members of the Research Division provide
OBGYN, BIDMC          guidance and statistical support for big and small projects, including curriculum design,
2020-                 simulation, assessment, and program evaluation.

“Beth Israel          Video presentation made to orient students, trainees, and new staff to the labor and
Deaconess Medical     delivery work environment during the COVID-19 pandemic. This was presented at the
Center Labor and      Innovation Festival at the CREOG/APGO annual meeting in March 2021, held virtually due
Delivery              to COVID-19 pandemic.
Overview.”
2021
Developing            Working with a group of medical students, I developed a simulation curriculum to orient
Situational           medical students entering the clinical clerkship year to the labor floor as a clinical learning
Awareness in the      environment. The curriculum consists of a flipped-classroom video, a simulation session,
Labor Room for        and faculty guide.
Transition to the
Principle Clinical
Experience
2022



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 Responding to           Interprofessional curriculum to prepare medical students entering the clinical clerkship
 Trauma                  year for responding to disclosures of trauma, violence, and other common disclosures
 Disclosures: an         with a trauma-informed perspective. In this project I mentored a student in the design
 interprofessional       and implementation of the curriculum, which consists of a flipped-classroom video, a
 approach for            case-based simulation, and a faculty guide. This was the topic of a poster presentation at
 Transition to the       the Association of American Medical Colleges’ 2023 meeting, and the simulation is in
 Principle Clinical      preparation for publication in MedEdPORTAL.
 Experience
 2022
 BRIDGES 1 and 2         I co-lead the design and implementation of a new core pre-clerkship course at HMS The
 2023-                   goal is to implement a comprehensive, multi-modal course which will prepare Pathways
                         students for the Principal Clinical Experience (PCE). The BRIDGES I/II Course will address
                         the following needs of our students:

                         •     Advanced physical exam techniques
                         •     Hypothesis-driven physical exam relevant to clinical setting
                         •     Oral and written presentation skills, using experiential learning both in clinical and
                               simulated settings
                         •     Introduction to unique clinical environments (e.g., operating room, pediatrics,
                               delivery room, etc.)
                         •     Clinical reasoning
                         •     Professionalism

                         The metrics used to measure success will primarily be the key performance indicators of
                         student performance on Observed Structured Clinical Exams and student performance
                         on Entrustable Professional Activities.


Report of Education of Patients and Service to the Community
No activities below were sponsored by outside entities.
Activities

1993-1997             Women’s Daytime Drop-In Shelter, Berkeley, CA Shelter volunteer
                      Working with homeless women and children providing meals and medical care.
2002-2005             Our Whole Lives Instructor, Unitarian Society of Santa Barbara
                      Santa Barbara, CA
                      Reproductive health class instructor for children and youth in a faith community.
2005-2010             Community Health Fairs YWCA, Newburyport, MA / Lecturer
                      Presented health education lectures for senior women and low-income women and
                      families.
2011-2017             Reach Out and Read (ROAR), Bowdoin Street Health Center, Boston, MA / supervisor
                      Literacy program for children. Worked with high school students to design and
                      implement a literacy program for inner city preschool and school-age children,
                      including supervision of volunteers and implementing a new program for distributing
                      books to low-income children and families.

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2015-2017           The College Corner, Bowdoin Street Health Center, Boston, MA / founder &
                    supervisor
                    Outreach program for middle school children to increase awareness of higher-
                    education opportunities. Work with high-school students to provide college prep
                    resources to low-income middle-school students.
2021, 2024          Personal statement reviewer for the Empower Symposium on Underrepresented
                    Voices in Medicine, HMS chapter of the Student National Medical Association
2021-               Visual Arts Advisory Committee, founding member.
                    Brigham and Women’s’ Hospital/HMS


Educational Material for Patients and the Lay Community
No educational materials below were sponsored by outside entities.

Books, articles, and presentations in other media
 2014       Guide to Urogynecology           Co-author         Clinical pathway description for patients and
            Surgery                                            families of common urogynecologic procedures.


Report of Scholarship
ORCID ID: 0000-0002-0739-0174
Peer-Reviewed Scholarship in print or other media:
Research Investigations
1. Royce CS, Atkins KM, Mendiola M, Ricciotti H. Teaching patient handoffs to medical students in OBGYN:
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4. Morgan HK, Graziano SC, Craig LB, Everett EN, Forstein DA, Hampton BS, Hopkins L, McKenzie ML, Pradhan
   A, Royce CS, Madani-Sims S, Morosky CM. A National Survey of Profiles of Clerkship Directors in OBGYN.
   Obstet Gynecol. 2019 Oct;134(4):869-873.
5. Johnson NR, Pelletier A, Royce CS, Goldfarb I, Singh T, Lau TC, Bartz DD. Feedback Focused: A Learner- and
   Teacher-Centered Curriculum to Improve the Feedback Exchange in the OBGYN Clerkship. MedEdPORTAL.
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6. Miller KA, Keeney T, Fialkowski A, Srinivasan S, Singh TA, Kesselheim J, Farrell S, Cooper C, Royce CS.
   Leveraging Podcasts to Introduce Medical Students to the Broader Community of Health Care Professionals.
   MedEdPORTAL. 2021 Oct 25;17:11191. doi: 10.15766/mep_2374-8265.11191.
7. Farid H, Dalrymple JL, Mendiola M, Royce CS, Young B, Atkins KM. Improving the OBGYN Learning
   Environment Through Faculty Development. MedEdPORTAL. 2022 May 3;18:11246. doi:
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8. Ward SA, Mendiola ML Royce CS, Anand M, Gompers A Hacker M, Winkelman W D. Cross-Sectional Study of
   Resident-Reported Surgical Experience in Female Pelvic Medicine and Reconstructive Surgery.
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    Technique (S-SART): Assessing Situational Awareness Among Medical Students. J Surg Educ. 2023
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10. Sims SM, Cox SM, Bhargava R, Everett EN, Fleming A, Graziano S, Morgan HK, Baecher-Lind L, Royce C, Sonn
    TS, Sutton JM, Morosky CM. Clerkship director confidence in medical student career advising in OBGYN.
    AJOG Glob Rep. 2023 Mar 5;3(2):100187. PMCID: PMC10090429.
11. Flier LA, Richards JB, Hacker MR, Hovaguimian A, Vanka A, Sullivan A, Royce CS. "Should I Say Something?": A
    Simulation Curriculum on Addressing Lapses in Professionalism to Improve Patient Safety. MedEdPORTAL.
    2023 Dec 12;19:11359. PMCID: PMC10713868.
12. Ward SA, Cornely RM, Mendiola M, Royce CS, Winkelman WD, Hacker MR, Anand M. Education in female
    sexual function and dysfunction among American Urogynecologic Society members: An unmet need. South
    Med J. 2024 Jan;117(1):7-10. PMCID: PMC10756638.
13. Morgan HK, Baecher-Lind L, Bhargava R, Cox S, Everett E, Fleming A, Graziano S, Morosky C, Royce CS, Sonn
    T, Sutton J, Sims SM. OBGYN clerkship directors' experiences advising residency applicants. AJOG Glob Rep.
    2023 Sep 16;3(4):100268. PMCID: PMC10585629.
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    Stephenson-Famy A, Sutton JM, Morgan HK; Undergraduate Medicine Education Committee; Association of
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    Am J Obstet Gynecol. 2023 Sep 24:S0002-9378(23)00640-3. doi: 10.1016/j.ajog.2023.09.020. E-pub ahead of
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16. Stephenson-Famy, A., Fleming, A., Baecher-Lind, L., Bhargava, R., Chen, K., Morgan, H., Morosky, C., Royce,
    C., Schaffir, J., Sims, S., Sutton, J., Sonn, T., & Undergraduate Medicine Education, T. (2024). Impact of the
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   gender equity within our specialty: Time’s Up on waiting for change. Obstet Gynecol 2018 Jun:131(6);961-
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   10.1097/ACM.0000000000002518.
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   Human Services. 2020.
4. Royce CS, Everett EN, Craig LB, Fleming A, Forstein DA, Graziano SC, Hampton BS, Hopkins L, McKenzie ML,
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   10.1016/j.ajog.2020.10.006. Epub 2020 Oct 7; PMCID: PMC7539929.
5. Baecher-Lind, L, Fleming, A C., Bhargava, R, Cox, SM., Everett, EN, Graziano, SC, Katz NT, Sims SM, Morgan
   HK, Morosky CM, Sonn, TS, Sutton, JM, Royce CS. Medical Education and Safety as Co-priorities in the
   Coronavirus Disease 2019 (COVID-19) Era: We Can Do Both. Obstet Gynecol. 136(4):830-834, October 2020.
   DOI: 10.1097/AOG.0000000000004113
6. Morosky CM, Cox SM, Craig LB, Everett EN, Forstein DA, Graziano SC, Hampton BS, Hopkins L, Sims SM,
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9. Sonn T, Fleming AF, Bhargava R, Cox S, Everett EN, Graziano SC, Morgan HK, Madani Sims S, Morosky C,
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    mobility and sensory disabilities. Disabil Rehabil. 2023 Apr 19:1-5. doi: 10.1080/09638288.2023.2201511. E-
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    10.1097/ACM.0000000000005334. E-pub ahead of print.
13. Millham LRI, Potter J, Hirsh DA, Trinh NH, Royce CS, Levy-Carrick NC, Rittenberg E. Incorporation of Trauma-
    Informed Care Into Entrustable Professional Activities for Medical Student Assessment. Acad Med. 2024 Jul
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Narrative Report
I am an academic specialist in general obstetrics and gynecology, and my area of excellence is teaching and
educational leadership. I spend 100% of my time at BIDMC, with my responsibilities evenly split between clinical
work and educational endeavors that encompass teaching, curriculum development, and advising. After spending
my early career in community health, I returned to academic medicine in 2010. To pursue interest in medical
education and research, I completed two highly selective, rigorous training programs—the Medical Education
Fellowship through the Academy at Harvard Medical School (HMS) and the Academic Scholars and Leaders
program through the Association of Professors of Gynecology and Obstetrics (APGO). Participation in these
programs accelerated my development as a medical educator and leader in academic medicine. I have earned a
national reputation for curricular innovation and design, and my work has been disseminated through national
presentations, workshops, and educational materials and writing. My areas of scholarly interest include trauma-
informed care; simulation learning; and the role of clinical reasoning in improving patient safety and health care
outcomes.

I am actively involved in teaching across the medical education continuum, from preclinical students through
continuing medical education courses at the national level. At the local level, I have taught in all phases of the
Pathways curriculum, including the Transition to the Principle Clinical Experience, Obstetrics and Gynecology
(OBGYN) clerkship didactic and clinical teaching, and the OBGYN Pre-internship Specialty track in the Clinical
Capstone course. I received the Charles McCabe Faculty Prize for Excellence in Teaching, the APGO Faculty Prize
for Excellence in Teaching Medical Students, and the Society for Academic Specialists in General Obstetrics and
Gynecology Faculty Award. I have published five complete curricula in the Association of American Medical
Colleges’ (AAMC) MedEdPORTAL, a peer-reviewed online journal of teaching and learning resources for medical
educators. Each of these includes teaching or learning modules that have been implemented and evaluated, and
include one first author and two senior author publications. Currently, I have three curricula projects in review for
publication in this forum. In each of these projects, I am mentoring trainees who have participated in the
development, implementation, and evaluation.

My curricular innovations in simulation have been recognized nationally. Based on my work in developing a novel
simulation to teach situational awareness to pre-clinical medical students, I was invited to speak at the national
conference of the American Medical Association (AMA), where I spoke on the role of simulation in improving
student adaptation to the clinical learning environment. This work also was featured in the AMA’s online
publication, Succeeding in Medical School. At the National Resident Matching Program Conference, I presented a
workshop on development and implementation of simulation-based transition to residency courses. Most
recently, I presented, as senior author, the results of a new curriculum, “Responding to trauma disclosures on the
wards: A clinical skills teaching session with a trauma-informed lens. Each of these curricula was an innovative
example of co-creation of curricular materials with learners. I worked closely with students and residents to
develop the material and teach the courses. In this fashion, I have provided mentorship for students and trainees
in medical education and research.

My roles in medical education demonstrate leadership at the local and national level. At HMS, I am co-Course
Director for a new, two-part required course in the pre-clerkship phase. This course, called “BRIDGES”, is a 15-
week transition to clinical medicine course which provides students entering clerkships with foundational skills to
successfully adapt to the clinical learning environment. I also co-direct the Rabkin Medical Education Fellowship,
where I mentor six early- to mid-career faculty fellows each year in designing and carrying out a medical
education project. Within my department, I am Director for Undergraduate Medical Education and Director for
Simulation, responsible for faculty development with twice yearly grand rounds focusing on educational practices
and pedagogy and for designing and running annual simulations for the Department, ensuring all clinicians have
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competence in procedural and communication skills needed for safe patient care. I lead regular “resident as
teacher” workshops, in which trainees have observed teaching simulations to improve teaching skills. I mentor
students and trainees on medical education projects including curriculum development and implementation. At
the national level, I recently completed a six-year term on the Undergraduate Medical Education Committee
(UMEC) for APGO—the educational society for academic obstetrician-gynecologists in the United States and
Canada. As a UMEC member, I contributed to writing, editing, and publishing nine peer-reviewed policy papers in
the To The Point series, including two on which I was first author and two on which I was senior author. I also
contributed to four of UMEC’s research papers on faculty perspectives on topics in OBGYN education.

I have received competitive grants to fund my medical education work. I was awarded a $250,000 grant by
Controlled Risk Insurance Company/Risk Management Foundation to develop, implement and evaluate a
curriculum on clinical reasoning and cognitive bias awareness in the prevention of diagnostic error. I was the
principal investigator on Mapping Entrustable Professional Activities in Obstetrics and Gynecology from
Undergraduate to Graduate Medical Education for which I received a Promising Young Investigator Grant from the
Department of OBGYN at BIDMC. This novel mapping technique was later used in the development of the trauma-
informed care competencies, published in Academic Medicine (CV publication #29).

My efforts in scholarship include writing national standards for OBGYN. While on UMEC, I served as associate
editor and contributing author for the 11 th edition of the Medical Student Educational Objectives, which sets the
recommended educational outcomes in OBGYN education in the US and Canada. This work included extensive
revisions to the APGO Teaching Cases and Outlines, which are used by faculty at medical schools across the
country to teach students the core topics in OBGYN. The Teaching Cases were fully updated, revised, and
structured to reflect current medical practice and to be inclusive of diversity within patient populations, thus
increasing the relevancy for current learners.

Another major focus of my scholarship and work for APGO has been writing perspectives and calls to action as
part of the To The Point series. This included a first author publication on implicit bias in OBGYN medical
education (CV publication #25), and senior author publications on the role of students in clinical care during the
pandemic (CV publication #20) and unintended consequences of the Dobbs decision on undergraduate medical
education (CV publication #23). I also co-authored perspectives on improving access for medical students with
disabilities and interprofessional educational opportunities in OBGYN. In each, we addressed contemporary topics
in a timely fashion, contributing to the national dialogue on issues vital to medical education and development of
the future workforce in women’s health care and medicine.

My current research includes a multi-center, randomized, controlled study of the effect of a visual arts curriculum
on clinical reasoning for internal medicine trainees, and a study of US medical school policies on parental leave
policies and utilization. Additionally, I am mentoring a trainee on a scoping review of trauma-informed care in
OBGYN and OBGYN medical education. With the completion of the Transition to the Principal Clinical Experience
course at HMS, my co-director and I presented on the design and implementation of the course at a regional
AAMC meeting. My work at the national level continues with a recent appointment as an Advisor for the APGO
Academic Scholars and Leaders program, where I will teach and mentor OBGYN medical educators from across
the country in a rigorous 15-month medical education and leadership program.

Lastly, I continue to work clinically with learners. I derive true joy from sharing the experience of patient care with
students and residents and remain deeply committed to sharing my passion for working in the community health
setting. As a hospitalist in general OBGYN, I work with students and residents regularly, providing hands-on
teaching, direct observation, and workplace-based assessments. In this expanded teaching role, I am privileged to
continue to care for patients while guiding the next generation of physicians toward excellence.

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              EXHIBIT 3
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The Wayback Machine - https://web.archive.org/web/20250113041854/https://psnet.ahrq.gov/…
            Endometriosis: A Common and Commonly
            Missed and Delayed Diagnosis
            Malcom Mackenzie, MD and Celeste Royce, MD | June 24, 2020
            View more articles from the same authors.


            The Case
            A 15-year-old girl with no prior medical problems developed
            disabling menstrual cramps and heavy bleeding at the onset of her
            first menstrual period. She immediately sought care from a
            gynecologist, who started her on an oral contraceptive pill to
            manage her symptoms, which were attributed to "bad periods."

            Over the next 3 years, her dysmenorrhea continued, and she
            developed severe abdominal cramps, bloating, nausea and diarrhea.
            She was continued on oral contraceptives by her gynecologist. She
            saw her primary care provider for her severe diarrhea and was
            diagnosed with Irritable Bowel Syndrome with Diarrhea (IBS-D). No
            additional diagnostic testing was pursued at that time. She pursued
            a second opinion from another gynecologist who also attributed her
            symptoms to "bad periods," without having conducted any
            additional testing.

            Nine years after the onset of her severe menstrual symptoms and
            six years after the onset of her disabling abdominal pain and
            diarrhea, she was referred to a gastroenterology (GI) specialist. The
            specialist performed a colonoscopy that showed only a "tortuous
            bowel." She was told that this finding confirmed her diagnosis of
            IBS-D.

            Three years later, the patient experienced “sharp” right-sided
            abdominal pain. She had an urgent computed tomography scan,
            which was interpreted as showing acute appendicitis, and was
            directed to the emergency room, where she was admitted for an
            emergency appendectomy by a general surgeon. At her
            postoperative appointment, the surgeon informed her that the
            procedure was prolonged due to endometriosis lesions close to the
            appendix. The patient was informed that these lesions caused the
            appendix to become infected. The surgeon did not call in a
            gynecological surgeon during the surgery or complete a biopsy. He
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also did not remove any of the suspected endometriosis as he
feared causing further spread of endometriosis cells. The surgeon
referred her to a gynecologist.

Once the diagnosis was made by the general surgeon, the patient
continued to experience delays in accessing appropriate treatment
due to medical insurance coverage issues and often intolerable
medication side effects from hormonal treatments – metabolic
changes with weight gain as well as psychological and emotional
derangements including anxiety and depression. Ultimately the
patient underwent a diagnostic laparoscopy to confirm
endometriosis via biopsy, and definitive surgery: laparoscopic wide-
field excision of the endometriosis, which was performed 12 years
after her symptoms started.

Looking back, from the onset of her periods, the patient felt that
her physicians had implied that the severity of her symptoms was
due to a mental health condition. She stated that throughout this
time, her symptoms were often dismissed as psychological and she
was made to feel that “she was crazy.” Without a strong advocate
(her mother), she felt that physicians would not have pursued
additional diagnostic testing and effective treatment.

The Commentary
By Malcom Mackenzie, MD and Celeste Royce, MD

This case demonstrates many typical features of both endometriosis
and its misdiagnosis. Despite a prevalence of 1–8.6% of women of
reproductive age, rising to 9-68% of infertile women, and 15-71% of
women with chronic pelvic pain,1-3 it is often not diagnosed in a
timely or accurate way. Average delays range from 6 to 11 years,
often despite disabling and ongoing symptoms,4 with symptoms
being “treated” for years despite patients not having received a
definitive diagnosis.5 Endometriosis poses a particular diagnostic
challenge both because it can involve multiple organs (see below)
and because female pelvic pain itself is a highly complex,
multifactorial and often difficult to treat condition. Nonetheless, the
most commonly recognized etiology for chronic pelvic pain is
endometriosis, adenomyosis and associated spasms of pelvic floor
muscle.6

Missed Opportunities for a Timely Diagnosis and Treatment
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Several aspects of this case illustrate common causes of the delay
in diagnosis frequently observed with endometriosis. When the
patient initially sought care, she was given a diagnosis of primary
dysmenorrhea. Although primary dysmenorrhea is common,7 it is a
diagnosis of exclusion; other etiologies should be considered. The
first gynecologist seems to have not considered other etiologies as
no testing was performed. This gynecologist may have not
considered endometriosis in such a young adolescent, as this
patient did not “fit” the more common presentation of an older
adolescent or young adult. This problem has been described as
“representativeness restraint” (or heuristic) because a physician
focused on recognizing common patterns may overlook atypical
variants of the disease. The patient’s symptom of heavy bleeding
was particularly worrisome; evaluation for von Willebrand’s disease
should be part of the workup for heavy bleeding at menarche.
Imaging is not always indicated as part of the initial workup for
primary dysmenorrhea, particularly if the patient’s menstrual cycles
are regular. However, testing for sexually transmitted infections,
coagulation disorders, and anemia should be performed, along with
a physical exam to detect structural anomalies such as partially
imperforate hymen. It is impossible to know if the first gynecologist
considered endometriosis; since the initial treatment for
endometriosis consists of non-steroidal anti-inflammatory agents
and combined oral contraceptives, it is possible that these
medications were prescribed for symptom relief and as empiric
treatment of possible endometriosis. Premature closure on the
diagnosis of dysmenorrhea resulted in no further investigation.

When the patient did not improve despite adequate first-line
therapy for dysmenorrhea, an opportunity for improved care and
diagnosis was missed. Persistent dysmenorrhea should have
prompted further search for the etiology of her symptoms.
Diagnostic evaluation may include imaging, but the gold standard for
diagnosis of endometriosis is laparoscopy with peritoneal biopsy of
any suspected lesions. Delaying or not considering diagnostic
laparoscopy in a young adolescent may have reflected bias, in that
the gynecologist may have assumed a young person would rather
not have surgical scars or be physically exposed in the operating
room, due to a potentially “unnecessary” surgery. This type of
paternalism may play a role in gynecologists’ reluctance to suggest
diagnostic surgery, and results in a missed opportunity for shared
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decision-making with patients and their families. Accepting a
patient’s “painful periods” as a condition of womanhood is another
stereotypical bias that may have played a role in limiting the
workup.

The second gynecologist also contributed to the delayed diagnosis.
This consultant clearly accepted the working diagnosis of primary
dysmenorrhea and did not pursue further diagnostic testing. The
cognitive bias of anchoring (wherein first diagnostic impressions
persist or are even cemented despite contradictory evidence) seems
to have prevented consideration of any other explanation.8 To be
fair, however, the same hormonal management or variations of it –
progesterone-only pills, implants, shots or intrauterine devices –
would have been a standard treatment for either primary
dysmenorrhea or endometriosis.

When the patient later developed gastrointestinal symptoms, the
primary care provider made a diagnosis of IBS-D based on those
symptoms. A search-satisfying diagnostic error9 seems to have then
occurred, as no further workup was performed for several years. The
lack of an evaluation for what is described as “severe” diarrhea is
also concerning because other infectious or inflammatory
gastrointestinal conditions could have been missed. As bowel
involvement by endometriosis typically begins with serosal implants
that later grow or erode into the mucosa, it is unlikely that
endometriosis would have been identified, even if this patient had
undergone imaging or colonoscopic evaluation.

Indeed, when colonoscopy was performed several years later, no
mucosal abnormalities were identified, leading to “confirmation” of
the previous syndromic diagnosis of IBS-D. The gastroenterologist
noted tortuosity, which may have been a sign of colo-sigmoid
fixation to the pelvic sidewalls, the posterior uterine wall or the left
pelvic brim. But tortuosity is a nonspecific finding of uncertain
significance, and its link to a gynecologic condition (e.g.,
extraluminal endometriosis-induced tissue adherence) probably
wasn’t recognized by the gastroenterologist as a cause of GI
symptoms.

The Challenges in Diagnosing Endometriosis

This 15-year-old with menarchal onset of severe dysmenorrhea to
the point of disability was appropriately seen by a gynecologist who
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rightly started hormonal suppression of her “bad periods.” The first
line treatment, oral contraceptives (and presumably NSAIDs), was
consistent with a diagnosis of endometriosis being considered. The
workup for primary dysmenorrhea might include an ultrasound to
look for anatomic abnormalities of the uterus, fallopian tubes or
ovaries, but endometriosis most often is not “visible” on imaging, as
adhesions can be difficult to identify via this diagnostic method.10 It
is important for clinicians to consider the limitations of imaging
studies when interpreting results, especially for endometriosis.11

Pain is the most common feature of endometriosis that leads
patients to seek care. The main types of pain experienced by
patients with endometriosis include:

   1. Dysmenorrhea - Pain with periods, initially cyclical. Not all
     endometriosis patients present with truly cyclic pain, but the
     presence of it does increase likelihood a patient has
     endometriosis. Missing school because of dysmenorrhea when
     in middle school has a high positive predictive value for this
     condition.12,13 Additional factors suggesting the diagnosis
     include a first-degree family history of endometriosis, cyclic
     dysmenorrhea that interrupts activities of daily living, and
     onset of dysmenorrhea with menarche. Unfortunately, societal
     and cultural expectations of dysfunction and pain during
     menses are common, even when the severity of the pain leads
     to missed school or work, or to visits to the emergency
     department.
   2. Dyspareunia - Pain with intercourse, specifically deep pelvic
     pain, which may be unilateral and persist sometimes for hours
     or days after intercourse. This can be a compelling reason for
     patients to seek care but is often misinterpreted by patients
     and physicians as a normal consequence of sexual activity.

Another key difficulty in diagnosing endometriosis is that it does not
necessarily present as a purely gynecologic condition. Ectopic
endometrial tissue implants throughout the pelvis and abdomen
may have deleterious effects on all involved structures, leading to
pain and dysfunction of the involved organ(s). Implants may be on:
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   1. Bowel - Leading to diarrhea, constipation, nausea, vomiting,
     bloating, rectal bleeding, food intolerances, and even bowel
     obstruction in advanced disease. Since implants are serosal,
     they are typically missed on colonoscopy, and since they are
     often microscopic or very small in size, they may not be visible
     on imaging. Many endometriosis patients carry a prior GI
     diagnosis, such as irritable bowel syndrome or Crohn’s disease,
     that was not determined through biopsy. Endometriosis has
     been found in 3-5% of appendix specimens removed at
     laparoscopy among women with chronic pelvic pain.14
   2. Bladder/Ureters - Leading to recurrent UTI-like symptoms,
     hematuria, painful voiding, incontinence, bladder spasm, and
     potentially to ureteral obstruction that can lead to renal failure.
     Many patients express histories or are diagnosed with
     “recurrent UTIs” despite having received no testing, or even
     negative test results, for them or carry a presumptive diagnosis
     of interstitial cystitis (IC) based on minimal cystoscopic
     findings.
   3. Peripheral Nerves - Leading to leg pain, abdominal muscle
     pain, chronic back pain, and rarely to loss of function and
     disability. Cases associated with sciatica and paraplegia have
     been documented.15
   4. Diaphragm and Thorax - Leading to chronic shoulder pain,
     pleuritic chest pain, and sometimes to erosive lesions that may
     cause hemo- and pneumo-thorax and pericarditis.16

Given this possibility of multi-organ involvement, patients with
endometriosis are often referred to multiple specialists,
contributing to a delay in diagnosis while alternative etiologies are
considered. Patients sometimes describe taking a “grand tour”17 of
specialists including not just gastroenterologists but
endocrinologists for metabolic syndrome/polycystic ovarian
syndrome, rheumatologists for undifferentiated inflammatory
conditions, neurologists for neuropathic conditions, and orthopedics
for chronic back pain, leg pain or even shoulder pain. After many
years of unremitting pain with no apparent cause (and sometimes
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earlier in their diagnostic journey), patients are commonly referred
to psychiatrists for anxiety and depression, often as a consequence
rather than the cause of pain.

The Correct Diagnosis is Finally Made

Not until the patient in this case had acute abdominal pain with
appendicitis did she receive the correct diagnosis – and ironically,
the diagnosis was made without a biopsy. It is commendable the
general surgeon recognized endometriosis might be present;
however, if the diagnosis is in doubt, biopsy of a representative
lesion and removal of visible lesions is recommended.3 Biopsy is
considered the gold standard for diagnosis, but the need for biopsy-
proven disease has been debated.3 If a surgeon does not feel
comfortable with performing a biopsy, as in this case, or is unsure
of the need for one, holding an intraoperative gynecologic
consultation is the preferred course of action, but referring a
patient to a gynecologist postoperatively is also reasonable.
However, the intraoperative management in this case demonstrated
a lack of understanding by the general surgeon of the natural history
of endometriosis; disease dissemination does not occur as a
consequence of excisional biopsy – a confusion perhaps between
the malignant and the benign (endometriosis).18

After further delays in the patient accessing care due to insurance
issues, a gynecologist made a definitive diagnosis of the presence of
endometriosis based on pathology.19 It is unclear from the literature
if pathologic confirmation of diagnosis is cost-effective; a 2000
study showed three months of empiric treatment for endometriosis
to be less costly than laparoscopy.20 A more recent Cochrane meta-
analysis review points out that non-surgical diagnoses via physical
findings combined with transvaginal ultrasound imaging have greater
or similar accuracy and lower risks than laparoscopy and therefore
approach the criteria required to replace laparoscopy.21 Shared
decision-making about surgery should include a clear explanation of
the risks and potential benefits of undergoing the surgery and take
into account the patient’s preferences. In the adolescent
population, an aggressive approach to primary dysmenorrhea may
result in an unacceptably high rate of surgical intervention.22

For this patient, it seems clear that, given the failure of multiple
trials of medical therapy, laparoscopic evaluation should have been
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performed much earlier. Surgical treatment of endometriosis by
removal or ablation of recognized implants provides significant
symptom relief, often long-lasting. The use of subsequent hormonal
treatment or suppression is of unclear benefit.23 Absent surgical
treatment, patients often continue to experience symptoms.24

According to the patient in this case, perhaps the most damaging
aspect of the disease was not the symptoms or the side effects of
treatment but rather the persistent dismissal of her symptoms as
“normal.” This experience of “victim-blaming” – the implication that
her symptoms were psychogenic or in some way self-induced – is
commonly reported by endometriosis patients.25 Viewed in this light,
the associated anxiety and depression are not unexpected.
Alienation from the healthcare system due to emotional distress is
common and may further delay diagnosis. Many endometriosis
patients have an intuitive sense that something is desperately
wrong as they suffer from persistent pain and dysfunction.
Repeated dismissal of their symptoms and their experience is
understandably devastating.25 On a health systems level, the
historic and systemic under-investment in women’s health26 - from
education of trainees to research in effective treatments for
conditions unique to women - magnifies the alienation and distrust
that can develop from professional disregard of the lived experience
of women who feel the pain of endometriosis and have often long
suffered with its symptoms. The evaluation of adolescents with
severe dysmenorrhea – who may have difficulty advocating for
themselves - represents another realm in which healthcare
professionals need to listen to and believe their patients.

Take-Home Points
     The presentation of endometriosis often involves multi-organ
     symptoms.
     The prolonged average time interval from symptom onset to
     diagnosis of endometriosis is the result of fundamental
     misconceptions and gaps in knowledge regarding the disease,
     its pathogenesis, natural history, presentation, limited utility of
     imaging, and treatment.
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     Because endometriosis often involves multiple organ systems
     including GI, genitourinary, peripheral nervous, and respiratory
     systems, patients are often referred to specialists who need to
     consider this diagnosis. Likewise, primary care physicians and
     gynecologists need to fully appreciate the myriad “non-
     gynecologic” manifestations of this disease.
     Imaging studies to diagnose endometriosis frequently result in
     false negative findings and providers must consider the
     limitations of these studies instead of dismissing patients’
     symptoms.
     Failure of standard hormonal treatment to provide symptom
     control does not necessarily mean that the diagnosis of
     endometriosis is incorrect.
     Accurate diagnosis of endometriosis requires active and
     empathetic listening to patients’ complaints, informed by an
     understanding of the presentation and additional medical
     history of the patient and, most importantly, avoidance of
     “normalizing” pain.
     Although not germane to this particular case, it is important to
     note that endometriosis can occur in trans and non-gender-
     conforming people and lack of understanding this fact could
     make diagnosis in these populations even more challenging.
     Therefore, endometriosis should be considered in the
     differential diagnosis for any person presenting with chronic
     abdominal or pelvic pain.



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              EXHIBIT 4
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 P E R I O P ER AT IVE G R AND ROUNDS



Endometriosis: A Common and Commonly
Missed and Delayed Diagnosis
THE CASE                                                                         believed that physicians would not have pursued addition-
A 15-­year-­old girl with no prior medical problems devel-                       al diagnostic testing or effective treatment.
oped disabling menstrual cramps and heavy bleeding at
the onset of her first menstrual period. She immediately
                                                                                 DISCUSSION
sought care from a gynecologist, who started her on an
oral contraceptive pill to manage her symptoms, which                            This case illustrates many typical features of both endo-
were attributed to “bad periods.”                                                metriosis and its misdiagnosis. Despite a prevalence of
                                                                                 1% to 8.6% among women of reproductive age that rises
During the next three years, her dysmenorrhea continued                          to 9% to 68% among infertile women and 15% to 71%
and she had severe abdominal cramps, bloating, nausea,                           among women with chronic pelvic pain,1,2 endometriosis
and diarrhea. She saw her primary care provider and was                          often is not diagnosed in a timely or accurate way. Average
diagnosed with irritable bowel syndrome with diarrhea                            delays in identification range from 6 to 11 years despite
(IBS-­D). No additional diagnostic testing was performed.                        patients experiencing disabling and ongoing symptoms
She pursued a second opinion from another gynecologist,                          that are “treated” for years without a definitive diagno-
who also attributed her symptoms to bad periods without                          sis. Endometriosis poses a particular diagnostic challenge
conducting any additional testing.                                               because it can involve multiple organs and because female
                                                                                 pelvic pain itself is a highly complex, multifactorial, and
Nine years after the onset of her dysmenorrhea and six                           an often difficult-­to-­treat condition. The most commonly
years after the onset of the abdominal pain and diarrhea,                        recognized etiology for chronic pelvic pain is endometri-
she was referred to a gastroenterology specialist. The spe-                      osis, adenomyosis, and associated spasms of pelvic floor
cialist performed a colonoscopy that showed only a “tor-                         muscle.3
tuous bowel,” technically confirming IBS-­D. Three years
later, the patient experienced sharp right-­sided abdominal                      This case illustrates common causes of delay in diagnosis
pain. She underwent an urgent computed tomography scan                           of endometriosis. When this patient initially sought care,
that showed acute appendicitis, so she was admitted for                          she was diagnosed with primary dysmenorrhea. Although
an emergency appendectomy. Postoperatively, the gen-                             primary dysmenorrhea is common, her provider did not
eral surgeon informed the patient that her procedure was                         consider other etiologies. The physician could have had
prolonged because of endometriosis lesions close to the                          “representativeness restraint” (or heuristic) tendencies,
appendix, which had caused the subsequent infection. The                         which is when a provider is so focused on recognizing com-
surgeon referred her to a gynecologist. After the surgeon’s                      mon patterns that he or she may overlook atypical vari-
diagnosis, the patient continued to experience delays in                         ants of a disease. Although nonsteroidal anti-­inflammatory
treatment because of insurance coverage problems. Finally,                       agents and combined oral contraceptives were prescribed
12 years after her symptoms began, the patient underwent                         for symptom relief, premature closure on the diagnosis of
a laparoscopic wide-­field excision of the endometriosis.                        dysmenorrhea resulted in no additional investigation.

The patient felt that her physicians wrongly believed her                        The patient did not improve despite therapy for dysmen-
symptoms were the result of a mental health condition.                           orrhea, so there should have been a deeper examination
She said that the physicians often labeled her symptoms                          of the cause of her symptoms. Diagnostic evaluation can
as psychological in nature and made her feel that “she                           include imaging or laparoscopy with peritoneal biopsy.
was crazy.” Without a strong advocate (her mother), she                          Delaying or not considering diagnostic laparoscopy in a

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                                                                                                                                     Perioperative Grand Rounds



young adolescent may reflect bias. This type of paternal-                              common and may further delay diagnosis. Many endo-
ism plays a role in gynecologists’ reluctance to suggest                               metriosis patients have an intuitive sense that something
diagnostic surgery. Accepting a patient’s painful periods as                           is wrong because they continue to experience persistent
a “condition of womanhood” is another stereotypical bias                               pain and dysfunction. Repeated dismissal of their symp-
that may have played a role in limiting the workup.                                    toms and their experience is understandably devastat-
                                                                                       ing. On a health systems level, the historic and systemic
The second gynecologist also contributed to the delayed                                underinvestment in women’s health8—­from education of
diagnosis. This consultant clearly accepted the working                                trainees to research in effective treatments for conditions
diagnosis of primary dysmenorrhea and did not pursue                                   unique to women—­magnifies the alienation and distrust
additional diagnostic testing. Anchoring, a cognitive bias                             that can develop from professional disregard of the lived
wherein initial diagnostic impressions persist or are even                             experience of women who feel the pain of endometriosis
cemented despite contradictory evidence, seems to have                                 and have often long endured its symptoms.
prevented the second provider from considering any other
explanation.4 When the patient later developed gastroin-
testinal symptoms, the primary care provider made a diag-                              PERIOPERATIVE POINTS
nosis of IBS-­D based on those symptoms. No additional                                 • Because endometriosis often involves multiple organ sys-
workup was performed for several years.                                                  tems, including gastrointestinal, genitourinary, peripher-
                                                                                         al nervous, and respiratory, patients often are re­­ferred
Another key difficulty in diagnosing endometriosis is that it                            to specialists who need to consider endometriosis.
does not necessarily present as a purely gynecologic con-
                                                                                       • Imaging studies to diagnose endometriosis frequent-
dition. Ectopic endometrial tissue implants throughout the
                                                                                         ly result in false negative findings, and providers must
pelvis and abdomen may have deleterious effects on all
                                                                                         consider the limitations of these studies instead of dis-
involved structures, leading to pain and dysfunction of the
                                                                                         missing patients’ symptoms.
involved organs. Implants may be on the bowel, bladder,
                                                                                       • Endometriosis can often be seen during abdominal sur-
ureters, peripheral nerves, diaphragm, and thorax. Because
                                                                                         geries performed for another reason.
of this, patients with endometriosis often are referred to
multiple specialists, contributing to a delay in diagnosis                             • Pain is not “normal.” There is usually a physiological rea-
while the providers consider alternative etiologies.                                     son for it.


The authors of a Cochrane meta-­analysis found that non-
                                                                                       REFERENCES
surgical diagnoses via physical findings combined with
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rate of surgical intervention. For this patient, it seems
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clear that, given the failure of multiple trials of medical
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therapy, her physicians should have performed a laparo-                                     pelvic pain: an evidence-­based and pragmatic approach. Int
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ment, patients often continue to experience symptoms.6                                    4. Friedlander ML, Phillips SD. Preventing anchoring errors in
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ing aspect of the disease was not the symptoms or the                                       Imaging modalities for the non-­invasive diagnosis of endo-
side effects of treatment but the persistent dismissal                                      metriosis. Cochrane Database Syst Rev. 2016;(2):CD009591.
of her symptoms as “normal.” This experience of vic-                                        https://doi.org/10.1002/14651​858.CD009​591.pub2.
tim blaming—­the implication that her symptoms were                                      6. Duffy JMN, Arambage K, Correa FJS, et al. Laparoscopic
psychogenic or in some way self-­induced—­is common-                                        surgery for endometriosis. Cochrane Database Syst Rev.
ly reported by endometriosis patients.7 Alienation from                                     2014;(4):CD011031. https://doi.org/10.1002/14651​858.
the health care system because of emotional distress is                                     CD011​031.pub2.


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                                                                                           and commonly missed and delayed diagnosis.
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   This content is adapted from AHRQ WebM&M                                                and-­commo​nly-­misse​d-­and-­delay​ed-­diagn​osis.
   (Morbidity & Mortality Rounds on the Web) with                                          Published June 24, 2020. Accessed August 23,
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Ending Medicine’s Chronic
Dysfunction: Tools and Standards
for Medical Decision Making
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      Lawrence L. Weed (1923–2017) and Lincoln Weed



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Dysfunction: Tools and Standards
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Lincoln Weed




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28     3. EXAMPLES OF THE PROBLEM

  driven processes. The necessary tools should guide the human mind in two basic functions: applying
  medical knowledge to patient data, and using structured health records to organize and communi-
  cate the processes of care over time. The tools are described in Chapters 7–9.
         This section provides a few examples involving diagnosis. In considering these examples and
  the processes involved, keep in mind the following conclusion from a study of diagnostic error:
              Most errors were related to patient-practitioner clinical encounter-related processes,
              such as taking medical histories, performing physical examinations, and ordering tests. …
              preventive interventions must focus on common contributory factors, particularly
              those that influence the effectiveness of data gathering and synthesis in the patient-prac-
              titioner encounter [emphasis added].39


     3.1.1   TWELVE YEARS OF MISERY
  Pelvic pain in women has a number of possible causes. One is endometriosis, a disease where
  tissue normally lining the inside uterine wall grows outside the uterus. This condition is common
  and well known as a cause of pelvic pain. Yet it often goes undiagnosed. The following summa-
  rizes such a case.40
         A healthy 15-year-old girl developed disabling menstrual cramps and heavy bleeding with
  her first menstrual period. A gynecologist immediately started her on an oral contraceptive pill as
  a treatment for “bad periods.”
         For the next three years her menstrual cramps continued, and she developed severe abdom-
  inal cramps, bloating, nausea, and diarrhea. Her gynecologist continued her on oral contracep-
  tives. She saw her primary care doctor for her severe diarrhea; his diagnosis was Irritable Bowel
  Syndrome with Diarrhea (IBS-D). This became a de facto final diagnosis (as distinguished from a
  preliminary “working” diagnosis), because no additional diagnostic testing was pursued at the time.
  She obtained a second opinion from another gynecologist who also attributed her symptoms to
  “bad periods,” again without additional testing.
         Nine years after her initial menstrual pain began and six years after her disabling abdominal
  pain and diarrhea began, this girl was referred to a gastroenterology (GI) specialist. The specialist
  performed a colonoscopy that showed only a “tortuous bowel.” The GI doctor told her this finding
  confirmed the IBS-D diagnosis.


  39
        Singh, H., Giardina, T. D., Meyer, A. N., Forjuoh, S. N., Reis, M. D., and Thomas, E. J., Types and origins
        of diagnostic errors in primary care settings. JAMA Intern Med 2013;173:418–24. DOI: 10.1001/jamaint-
        ernmed.2013.2777.
  40
        The case summary is paraphrased from Mackenzie, M. and Royce, C. “Endometriosis: A Common and Com-
        monly Missed and Delayed Diagnosis,” Agency for Healthcare Research and Quality/Patient Safety Network,
        published June 2020. The case summary is followed by commentary, quoted below.
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                                                                 3.1 DIAGNOSTIC ODYSSEYS           29

        Three years later, the girl experienced “sharp” right-sided abdominal pain. At the emergency
room a computed tomography scan was interpreted as showing acute appendicitis. She then had
an emergency appendectomy by a general surgeon. At her postoperative appointment, the surgeon
informed her that endometriosis lesions close to the appendix, which prolonged the surgery, had
caused the appendix to become infected. The surgeon did not call in a gynecological surgeon during
the surgery or complete a biopsy. Nor did he remove any of the suspected endometriosis as he feared
causing further spread of endometriosis cells. The surgeon referred her to a gynecologist.
        The girl experienced often intolerable medication side effects from hormonal treatments—
metabolic changes with weight gain as well as psychological and emotional derangements including
anxiety and depression. Ultimately, diagnostic laparoscopy confirmed endometriosis via biopsy, and
definitive laparoscopic surgery removed the endometriosis tissues. This happened 12 years after the
girl’s symptoms started.
        Looking back, the girl felt that from the beginning that her symptoms were often dismissed
as psychological. She was made to feel that “she was crazy.” Without a strong advocate (her mother),
she felt that doctors would not have pursued additional diagnostic testing and effective treatment.
        The above summary of the case was followed by detailed commentary, beginning with
“Missed Opportunities for a Timely Diagnosis and Treatment.” Some of the missed opportunities
arose from disorganized decision making and recordkeeping. Specifically (citations omitted):
      • “It is impossible to know if the first gynecologist considered endometriosis; since the
        initial treatment for endometriosis consists of non-steroidal anti-inflammatory agents
        and combined oral contraceptives, it is possible that these medications were prescribed
        for symptom relief and as empiric treatment of possible endometriosis. Premature clo-
        sure on the diagnosis of dysmenorrhea resulted in no further investigation…. “

      • “The second gynecologist also contributed to the delayed diagnosis. This consultant
        clearly accepted the working diagnosis of primary dysmenorrhea and did not pursue
        further diagnostic testing. The cognitive bias of anchoring (wherein first diagnostic
        impressions persist or are even cemented despite contradictory evidence) seems to
        have prevented consideration of any other explanation [citation omitted]. To be fair,
        however, the same hormonal management or variations of it—progesterone-only pills,
        implants, shots or intrauterine devices—would have been a standard treatment for
        either primary dysmenorrhea or endometriosis.”

      • After IBS-D diagnosis, “no further workup was performed for several years,” which
        meant that “other infectious or inflammatory gastrointestinal conditions could have
        been missed.”
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30    3. EXAMPLES OF THE PROBLEM

         • The GI doctor later performed a colonoscopy and noted a “tortuous bowel.” He mis-
           interpreted this finding as confirming the IBS-D diagnosis. In fact, “tortuosity is a
           nonspecific finding of uncertain significance, and its link to a gynecologic condition
           … probably wasn’t recognized by the gastroenterologist as a cause of GI symptoms.”
 Further commentary included the following points (citations omitted):
         • “Average delays [in diagnosis of endometriosis] range from 6 to 11 years, often despite
           disabling and ongoing symptoms, with symptoms being ‘treated’ for years despite
           patients not having received a definitive diagnosis [citations omitted]. Endometriosis
           poses a particular diagnostic challenge … Nonetheless, the most commonly recognized
           etiology for chronic pelvic pain is endometriosis, adenomyosis and associated spasms
           of pelvic floor muscle.”

         • “Given this possibility of multi-organ involvement, patients with endometriosis are
           often referred to multiple specialists, contributing to a delay in diagnosis while al-
           ternative etiologies are considered. Patients sometimes describe taking a ‘grand tour’
           of specialists including not just gastroenterologists but endocrinologists for meta-
           bolic syndrome/polycystic ovarian syndrome, rheumatologists for undifferentiated
           inflammatory conditions, neurologists for neuropathic conditions, and orthopedics
           for chronic back pain, leg pain or even shoulder pain. After many years of unremit-
           ting pain with no apparent cause (and sometimes earlier in their diagnostic journey),
           patients are commonly referred to psychiatrists for anxiety and depression, often as a
           consequence rather than the cause of pain. …”

         • “According to the patient in this case, perhaps the most damaging aspect of the disease
           was not the symptoms or the side effects of treatment but rather the persistent dis-
           missal of her symptoms as ‘normal.’ This experience of ‘victim-blaming’—the implica-
           tion that her symptoms were psychogenic or in some way self-induced—is commonly
           reported by endometriosis patients. Viewed in this light, the associated anxiety and
           depression are not unexpected.”

         • “Alienation from the healthcare system due to emotional distress is common and
           may further delay diagnosis. Many endometriosis patients have an intuitive sense that
           something is desperately wrong as they suffer from persistent pain and dysfunction. Re-
           peated dismissal of their symptoms and their experience is understandably devastating.”

         • “On a health systems level, the historic and systemic under-investment in women’s
           health - from education of trainees to research in effective treatments for conditions
           unique to women - magnifies the alienation and distrust that can develop from pro-
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                                                                             3.1 DIAGNOSTIC ODYSSEYS                      31

          fessional disregard of the lived experience of women who feel the pain of endome-
          triosis and have often long suffered with its symptoms. The evaluation of adolescents
          with severe dysmenorrhea—who may have difficulty advocating for themselves—rep-
          resents another realm in which healthcare professionals need to listen to and believe
          their patients.”
The commentary concluded with a number of “take-home points,” which included the following:
        • “The prolonged average time interval from symptom onset to diagnosis of endome-
          triosis is the result of fundamental misconceptions and gaps in knowledge regarding
          the disease, its pathogenesis, natural history, presentation, limited utility of imaging,
          and treatment.”

        • “Because endometriosis often involves multiple organ systems including GI, geni-
          tourinary, peripheral nervous, and respiratory systems, patients are often referred to
          specialists who need to consider this diagnosis. Likewise, primary care doctors and
          gynecologists need to fully appreciate the myriad ‘non-gynecologic’ manifestations of
          this disease.”

        • “Accurate diagnosis of endometriosis requires active and empathetic listening to pa-
          tients’ complaints, informed by an understanding of the presentation and additional
          medical history of the patient and, most importantly, avoidance of “normalizing” pain.”


3.1.2     TUNNEL VISION BY TEN DOCTORS IN FIVE SPECIALTIES41
For three years Carol Hardy-Fanta consulted a series of doctors about her medical problem. The
problem was repeated falls for no apparent reason. None of the ten doctors—her internist, four
orthopedists, three neurologists, a rheumatologist, and a podiatrist—could arrive at a successful
diagnosis. They did come up with various diagnostic hypotheses, but none of those explained all
her symptoms or led to successful treatment. Ms. Hardy-Fanta herself researched her problem,
identified the correct diagnosis as a possibility, and pushed her doctors to consider her idea after
they initially rejected it.
       At the time her falling problem began, she had been experiencing hip pain, foot pain, and
a change in her stance. The podiatrist prescribed a walking boot, which seemed to worsen her
hip pain. Her internist diagnosed bursitis, which would account for the hip pain and possibly the
change in her stance. He recommended physical therapy. But her pain continued, so she next con-
sulted a rheumatologist. He ordered MRI scans and found only mild hip arthritis. Then she went

41
     This case is reported in an April 20, 2020 article, She fell more than 30 times. For three years, doctors couldn’t
     explain why, from the Washington Post Medical Mysteries series.
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From: Patrick S Romano
Sent: Monday, February 3, 2025 12:34 PM
                               YN)                                     Mackenzie,Malcolm (MAH)                                       ; Schiff, Gordon,M.D.



Subject: RE: (External] RE: PRIDE Endometriosis Case PSNet Commentary REMOVED

I regret to inform you that your wonderful Case and Commentary from 2020 on "Endometriosis: A Common and Commonly Missed and Delayed Diagnosis," has
been removed from the PSNet website due to a perception that it violates the White House policy on websites "that inculcate or promote gender ideology"
(attached).
It is still visible through the Wayback machine,
bnps://web.archive.org/web/20241113093130/htt��psnet.ahrq.gov/web-mm/endometriosis-common-and-commonlY.-missed-and-delay�gno.sis

Please understand that your publication has not been deleted; it is simply archived so it can be restored to public access at a future time.

If you have any connections or influence that might be helpfu l in restoring factual and unbiased content of this type, please let me know or use your best judgment.
Gordy and I have already been in contact with the Boston Globe and others on this topic.

Patrick S. Romano, MD MPH FAAP FACP
Professor of Medicine and Pediatrics, UC Davis Division of General Medicine
Co-Editor in Chief, AHRQ Patient Safety Network (PSNet and WebM&M)




Website: httP-s://health.ucdavis.edu/team/P.ediatrics/122/i:2atrick-romano---internal-medicine--i:2ediatrics-general-sacramento

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